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          EXHIBIT 1
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 7
 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10    THE ESTATE OF BERNARD                      CASE NO. 14cv2170 WQH (BLM)
      VICTORIANNE by and through its
11    successor-in-interest ZELDA                ORDER
      VICTORIANNE, BERNARD
12    VICTORIANNE III, and ZELDA
      VICTORIANNE,
13
                           Plaintiffs,
14        v.
15    COUNTY OF SAN DIEGO et al.,
16                               Defendants.
     HAYES, Judge:
17
           The matters before the court are 1) the Motion to Dismiss and to Strike Parts of
18
     the Second Amended Complaint (ECF No. 84) filed by Defendants William Gore,
19
     Leslee Hall, and the County of San Diego; 2) the Motion to Dismiss Plaintiffs’ Second
20
     Amended Complaint (ECF No. 101) filed by Defendant Zvjezdan Nuhic; 3) the Motion
21
     to Dismiss and to Strike Parts of the Second Amended Complaint (ECF No. 102) filed
22
     by Defendant Earl Goldstein, M.D.; 4) the Motion to Dismiss and to Strike Parts of the
23
     Second Amended Complaint (ECF No. 106) filed by Defendant Rebecca Sivilay; 5) the
24
     Motion to Dismiss and to Strike Parts of the Second Amended Complaint (ECF No.
25
     107) filed by Defendant Patrick Gardner; 6) the Motion to Dismiss and to Strike Parts
26
     of the Second Amended Complaint (ECF No. 116) filed by Defendants Guynemer
27
     Almazan, Arthur Ayala, Ernesto Flores, Laudente Gallegos, Edmundo Garcia, Tony
28
     Lien, and Keith Russell; 7) the Motion to Dismiss and to Strike Parts of the Second

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                                        Exhibit 1 - 1
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 1 Amended Complaint (ECF No. 117) filed by Defendant Bruce Leicht; 8) the Motion to
 2 Dismiss and to Strike Parts of the Second Amended Complaint (ECF No. 118) filed by
 3 Defendants Deborah Bell, Aileen Longno, and Corazon Roque; 9) the Motion to
 4 Dismiss Plaintiffs’ Second Amended Complaint (ECF No. 122) filed by Kenneth
 5 Richter; and 10) the Motions to Dismiss Plaintiffs’ Second Amended Complaint (ECF
 6 Nos. 125, 126) filed by Defendant Peter Huang.1
 7 I. BACKGROUND
 8         On September 11, 2014, Plaintiffs initiated this action by filing a Complaint.
 9 (ECF No. 1). On February 9, 2015, Plaintiffs filed the First Amended Complaint
10 (“FAC”). (ECF No. 39).          On June 2, 2015, Plaintiffs filed the Second Amended
11 Complaint (“SAC”), which is the operative pleading in this case. (ECF No. 82).
12         On June 16, 2015, Defendants William Gore, Leslee Hall, and County of San
13 Diego filed a Motion to Dismiss and to Strike Parts of the Second Amended Complaint.
14 (ECF No. 84). On July 20, 2015, Plaintiffs filed an opposition. (ECF No. 105). On
15 July 27, 2015, Defendants filed a reply. (ECF No. 108).
16         On July 14, 2015, Defendant Zvjezdan Nuhic filed a Motion to Dismiss for
17 Failure to State a Claim. (ECF No. 101). On August 10, 2015, Plaintiffs filed an
18 opposition. (ECF No. 111). On August 13, 2015, Defendant Nuhic filed a reply. (ECF
19 No. 112).
20         On July 15, 2015, Defendant Earl Goldstein filed a Motion to Dismiss and to
21 Strike Parts of the Second Amended Complaint. (ECF No. 102). On August 10, 2015,
22 Plaintiffs filed an opposition. (ECF No. 110). On August 17, 2015, Defendant
23 Goldstein filed a reply. (ECF No. 119).
24         On July 21, 2015, Defendant Rebecca Sivilay filed a Motion to Dismiss and to
25 Strike Parts of the Second Amended Complaint. (ECF No. 106). On August 17, 2015,
26 Plaintiffs filed an opposition. (ECF No. 120). On August 24, 2015, Defendant Sivilay
27 filed a reply. (ECF No. 123).
28
           1
               ECF Nos. 125 and 126, filed by Defendant Huang, appear to be identical.
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                                         Exhibit 1 - 2
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 1         On July 21, 2015, Defendant Patrick Gardner filed a Motion to Dismiss and to
 2 Strike Parts of the Second Amended Complaint. (ECF No. 107). On August 17, 2015,
 3 Plaintiffs filed an opposition. (ECF No. 121). On August 24, 2015, Defendant Gardner
 4 filed a reply. (ECF No. 124).
 5         On August 17, Defendants Almazan, Ayala, Flores, Gallegos, Garcia, Lien, and
 6 Russell filed a Motion to Dismiss and to Strike Parts of the Second Amended
 7 Complaint. (ECF No. 116). On September 11, 2015, Plaintiffs filed an opposition.
 8 (ECF No. 130). On September 18, 2015, Defendants filed a reply. (ECF No. 135).
 9         On August 17, 2015, Defendant Bruce Leicht filed a Motion to Dismiss and to
10 Strike Parts of the Second Amended Complaint. (ECF No. 117). On September 11,
11 2015, Plaintiffs filed an opposition. (ECF No. 131). On September 18, 2015,
12 Defendant Leicht filed a reply. (ECF No. 136).
13         On August 17, 2015, Defendants Deborah Bell, Aileen Longno, and Corazon
14 Roque filed a Motion to Dismiss and to Strike Parts of the Second Amended Complaint.
15 (ECF No. 118). On September 11, 2015, Plaintiffs filed an opposition. (ECF No. 129).
16 On September 18, 2015, Defendants filed a reply. (ECF No. 137).
17         On August 21, 2015, Defendant Kenneth Richter filed a Motion to Dismiss for
18 Failure to State a Claim. (ECF No. 122). On September 14, 2015, Plaintiffs filed an
19 opposition. (ECF No. 132). On September 16, 2015, Defendant Richter filed a reply.
20 (ECF No. 133).
21         On August 31, 2015, Defendant Peter Huang filed a Motion to Dismiss Plaintiffs’
22 Second Amended Complaint (ECF No. 125) and an identical Motion to Dismiss
23 Plaintiffs’ Second Amended Complaint (ECF No. 126). On September 29, 2015,
24 Plaintiffs filed an opposition to the motions. (ECF No. 139). On October 6, 2015,
25 Defendant Huang filed a reply. (ECF No. 142).
26 II. ALLEGATIONS OF THE COMPLAINT
27         “On September 12, 2012, Bernard Victorianne was arrested for driving under the
28 influence.” (ECF No. 82 ¶ 17). “Observed swallowing a baggie of drugs during the

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                                       Exhibit 1 - 3
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 1 arrest, he was first taken to Alvarado Hospital but was released and booked into San
 2 Diego’s Central Jail . . . .” Id. ¶ 18.
 3         On September 12, 2012 at approximately 4:11 p.m. Bernard Victorianne
           was booked at the Central Jail, where it was documented during Medical
 4         Intake that Bernard had been evaluated at Alvarado Hospital after
           swallowing a baggie of drugs. It was noted that Bernard had no
 5         psychiatric problems or history. Bernard reported to the staff recent heavy
           methamphetamine and alcohol use on September 11, 2012.
 6
           The discharge document from Alvarado Hospital, which became a part of
 7         the Central Jail record for Bernard Victorianne, advised: ‘GET PROMPT
           MEDICAL ATTENTION if any of the following occur: agitation, anxiety,
 8         unable to sleep; unintended weight loss; seizure; chest pain or shortness
           of breath; unexplained fever; excess drowsiness or inability to be
 9         awakened; slow breathing; shortness of breath; redness, swelling, or
           tenderness.’
10
     Id. ¶¶ 19, 21.
11
           “On September 13, 2012, at approximately 12:32 a.m., Bernard was examined
12
     by medical staff. He told the staff that he had come from the hospital after ingesting a
13
     baggie of methamphetamine.” Id. ¶ 22. “Defendant Aileen Longno noted in Bernard’s
14
     medical records that he had ingested meth and noted that Bernard has alteration in
15
     thought process/content, ineffective health maintenance, risk for imbalance fluid
16
     volume.” Id. ¶ 23.
17
           On September 13, 2012, at 7 a.m., approximately 22 hours after ingesting
18         methamphetamine, Bernard was found agitated and irritable, stating that
           nurses were passing papers around to people so that they could kill him.
19         Bernard told the deputy that there were people sitting in the hallways
           waiting for him. He demonstrated paranoid behavior and made bizarre
20         statements. Medical staff informed the deputies on duty that Bernard had
           been to Alvarado Hospital for ingesting methamphetamine. Deputy Rolle
21         determined that Bernard was under the influence of a controlled substance
           and placed Bernard Victorianne in a Sobering Cell.
22
           Once Bernard Victorianne was placed in a ‘Sobering Cell’ on September
23         13, 2012 at 7:00 a.m., he was monitored by Defendant nurse Ailene
           Longno and Defendant nurse Rebecca Sivilay. It was noted by the
24         defendant nurses that Bernard Victorianne was intoxicated for drug use
           and that he admitted being under the influence of street drugs. Defendant
25         Longno noted in Bernard Victorianne’s medical chart that his Vitals at
           7:01 a.m. were BP 143/100 and Pulse 101, both being abnormally high
26         vital signs. Defendant Sivilay noted that Bernard Victorianne had slow
           speech; nods head when asked how doing; that he had auditory
27         hallucinations, and was assessed as having an ‘Alteration in thought
           process/content.’
28
           It was noted that he was ‘standing by the door, talking, mumbling,

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                                        Exhibit 1 - 4
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 1         appeared to be responding to internal stimuli, wearing blues, disheveled
           and unkempt’ ‘occasionally yelling’ and was assessed to have a ‘potential
 2         for injury.’ It was noted that Bernard Victorianne had stated: ‘I have sick;
           I am [starve].’ Bernard Victorianne was observed throughout the
 3         remainder of the morning of September 13 in the sobering cell and it was
           noted that he refused lunch.
 4
           At 1:37 p.m., Bernard Victorianne’s Vitals were Pulse 100 and BP
 5         146/100 per nurse Rebecca Sivilay, again being both abnormally high vital
           signs. Nevertheless, with abnormally high vital signs, with auditory
 6         hallucinations, with an assessment of having an alteration in thought
           process, with an assessment of having a ‘potential for injury’ . . .
 7         Defendant nurse Sivilay cleared Bernard Victorianne to go to mainline at
           1:38 p.m.
 8
           On September 14, 2012, at 9:30 a.m., approximately 48 hours after
 9         ingesting methamphetamine, Bernard Victorianne was acting irrationally.
           He reported that other inmates were ‘out to get him’ and that deputies
10         were passing around his charge sheet to inmates. While being escorted to
           be psychologically evaluated by a nurse, Bernard suddenly ran out of the
11         elevator claiming that he saw a person with a gun.
12         On September 14, 2012 Defendant Corazon Roque noted in Bernard
           Victorianne’s medical chart, specifically on a standardized Psychiatric
13         Outpatient Evaluation Form, that he had a history of ‘Illicit Drug Use’ and
           hand wrote ‘Meth cleared from sob(ering) cell 9/13/12.’ She further hand
14         wrote that ‘Per floor deputy I/P (inmate/patient) exhibiting bizarre
           behavior, agitated, irritable with difficulty following directions.’
15
     Id. ¶¶ 24-29. “The Psychiatric Evaluation Form was stamped in two (2) separate
16
     locations with the words ‘NO UBH HISTORY’ meaning ‘No United Behavioral Health
17
     History,’ i.e. that Bernard Victorianne had no history of psychological issues.” Id. ¶ 30.
18
     Defendant Roque
19
           noted that [Bernard Victorianne] had been ‘Brought here from the 4th floor
20         for psych eval, alert and oriented x3, in no acute distress, ambulatory,
           denies psych problem . . . . reported he had meth, cleared from sobering
21         cell 9/13/12, per floor deputy, I/P exhibiting bizarre behavior, agitated,
           irritable, w/ difficulty following commands . . . .
22
     Id. ¶ 31. “Bernard was scheduled for a psychological examination. Bernard was not
23
     seen by a doctor.” Id. ¶ 32. “Bernard was placed on lockdown.” Id. ¶ 33.
24
           On September 16, 2012, at 10:39 a.m., . . . Defendant Richter visited
25         Bernard’s cell to conduct a psychological evaluation. Defendant Richter
           noted that Bernard Victorianne was ‘responding to internal stimuli, while
26         aggressively talking with the wall.’ Richter noted that the room appeared
           highly disorganized. Richter noted that an attempt to speak to Bernard
27         should be made the next day. Defendant noted ‘f/u with this patient
           tomorrow & likely consider transfer.’ Defendant Richter took no further
28         action.

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                                          Exhibit 1 - 5
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 1         On September 17, 2012, at 4:40 p.m. . . . Defendant Nuhic visited
           Bernard’s cell for a psychological evaluation. Nuhic observed that
 2         Bernard appeared to be ‘internally preoccupied’ talking to himself while
           lying on the cell floor. Defendant Nuhic prescribed Ativan, Benadryl and
 3         Haldol. Defendant Nuhic scheduled a follow up in 2-3 days. Nuhic took
           no further action.
 4
     Id. ¶¶ 34-35.
 5
           “On September 18, 2012, at 8:00 a.m., approximately 6 days after Bernard
 6
     Victorianne ingested methamphetamine, Sgt. Hansen noted that Bernard was in medical
 7
     distress. Deputies entered his cell and transferred him by gurney to Medical.” Id. ¶ 36.
 8
     “Defendant Gable examined Bernard Victorianne. Gabel saw Bernard who was brought
 9
     in on a stretcher and noted ‘Impression no medical problem at this time.’ Defendant
10
     Gabel administered no care.” Id. ¶ 37. “Defendant Roque noted that Bernard was
11
     hyper-verbal, talking nonsense and appeared to be hallucinating.” Id. ¶ 38. “Defendant
12
     Huang reviewed Bernard’s medical records and determined that his behavior might be
13
     consistent with seizures. Huang noted that Bernard was suffering from the effects of
14
     stimulant or hallucinogen; possibly bath salts. Huang noted that Bernard was scared
15
     and agitated.” Id. ¶ 39. “Bernard told Defendants Huang and Bell that he was ‘on fire;
16
     he was burning and something was burning his insides.’           Bernard kept asking
17
     Defendant Bell for water. Bernard reached to his stomach several times and stated to
18
     Defendant Bell, ‘Pull it out - get it out of me.’” Id. ¶ 40. Defendants Huang and Bell
19
     gave Bernard Haldol, Ativan, and Benadryl. Defendants Huang and Bell took no
20
     further action.” Id. ¶ 41. “Gabel and Huang released Bernard Victorianne from
21
     Medical so that he could be placed in solitary confinement.” Id. ¶ 42.
22
           “Defendant Ayala decided to place Bernard Victorianne in Administrative
23
     Segregation.”    Id. ¶ 43.    “Deputies transported Bernard on a gurney to the
24
     Administrative Segregation cell. . . . Bernard Victorianne was left in administrative
25
     segregation without a mattress to sleep on.” Id. ¶ 44.
26
           Throughout the afternoon and evening of September 18, 2012, Defendants Lien,
27
     Russell, Flores, and Almazan were supposed to have conducted “Soft Count” cell
28
     checks on Bernard Victorianne’s jail pod on seven separate occasions. Id. ¶¶ 45-48, 50,

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                                         Exhibit 1 - 6
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 1 52-54. Each time, Defendants Lien, Russell, Flores, and Almazan failed to comply with
 2 “Soft Count” procedures, only briefly looking in the cell or walking by without looking
 3 in Bernard Victorianne’s cell. Id. At approximately 3:53 p.m., Defendant Flores was
 4 seen attempting to open the food flap to serve a meal. When he could not open the food
 5 flap, Flores moved on to the next cell and did not return to open Bernard’s cell door.
 6 Id. ¶ 49. “Sheriff’s policy requires that during a ‘Soft Count,’ an inmate’s well-being
 7 is to be verified through verbal or physical acknowledgment from the inmate.” Id. ¶ 55.
 8
 9         “At approximately 9:43 p.m., Defendant Edmundo Garcia conducted a ‘Hard
10 Count.’ The video shows Garcia walk past Bernard’s cell without stopping; without
11 breaking stride; taking approximately 1 second to walk past the cell door, while
12 glancing toward the windowed door of the cell.” Id. ¶ 56. “Sheriff’s policy requires
13 that during a ‘Hard Count,’ deputies are to use a Bar Code Reader to scan each inmate;
14 confirm the inmate’s name, booking number and wristband photo. The deputy should
15 check the inmate’s overall condition, check the inmate’s wristband and verify the
16 inmate is in the appropriate cell.” Id. ¶ 57.
17         On September 19, 2012, at 4:00 a.m., approximately 7 days after Bernard
           Victorianne ingested methamphetamine, Defendants Garcia and Gallegos
18         served meals to inmates. Defendant Garcia signaled the Control Deputy
           to open Bernard’s cell door. Garcia entered the cell with Gallegos
19         standing in the doorway. Forty-one seconds after entering Bernard’s cell,
           Defendants are observed exiting his cell and closing the cell door. Inmate
20         trustees serving meals heard Gallegos tell Garcia, ‘The guy’s not moving.’
           Garcia responded, ‘Okay, he twitched’ at which point Garcia left the tray
21         of food, closed the door, and left.
22 Id. ¶ 58. “Defendants Garcia and Gallegos are trained as first responders in First Aid
23 and CPR. They made no attempts to check Bernard Victorianne’s vital signs or pulse.”
24 Id. ¶ 59. “Policy requires that deputies receive verbal or physical acknowledgment
25 from an inmate who might be in medical distress, but Victorianne provided neither.
26 Defendants never alerted medical staff.” Id. ¶ 60.
27         “Three hours later, at approximately 7:00 a.m., after a shift change, deputies
28 found Bernard dead on the floor. Bernard Victorianne was nude, lying prone on a

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                                        Exhibit 1 - 7
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 1 blanket that had been soiled, with his right arm wedged under his torso and his left arm
 2 outstretched.” Id. ¶ 61.
 3         “Bernard Victorianne had been in distress for days before his death, screaming
 4 and telling staff that his insides were ‘on fire.’” Id. ¶ 62. “Despite obvious signs of
 5 overdose, Mr. Victorianne was sent to solitary confinement, instead of the medical unit
 6 where he could have been closely monitored and treated.” Id. ¶ 63. “Bernard
 7 Victorianne had been scheduled for a hospital visit, but he was never transported to the
 8 hospital. Instead of transporting him to the hospital, the jail medical staff prescribed
 9 Benadryl, the sedative Ativan and Haldol, a powerful antipsychotic.” Id. ¶ 64. “For
10 approximately five days, Bernard Victorianne lived in excruciating pain. No one from
11 the San Diego County Jail provided him with the appropriate medical care despite his
12 pleas.” Id. ¶ 67.
13         “Symptoms of methamphetamine overdose include: hyperactivity; paranoia;
14 agitation; fast breathing; high or low blood pressure; confusion; shakiness;
15 aggressiveness; hallucinations (auditory or visual); seizures and severe stomach pain.
16 Bernard Victorianne demonstrated all of these symptoms for five days.” Id. ¶ 68.
17         “All medical staff worked under the direction and supervision of Defendants
18 Leicht and Goldstein, who set the policies and procedures with respect to medical
19 services.” Id. ¶ 70.
20         “Sheriff’s Policy provides that Homicide and Detentions Investigations Unit
21 generally conduct all interviews of possible witnesses after an inmate death. Deaths are
22 not investigated by Internal Affairs.” Id. ¶ 71. “All involved deputies are considered
23 possible witnesses and are to write a deputy’s report detailing their involvement.” Id.
24 ¶ 72.     “Sheriff’s Policy mandates that circumstances of death be investigated
25 immediately. Interviews of witnesses are typically conducted as soon as possible
26 during the initial investigation, usually within a few hours of Homicide investigators’
27 initial response to the facility.” Id. ¶ 73.
28         “Homicide investigators violated these policies by failing to interview or secure

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                                         Exhibit 1 - 8
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 1 deputy reports from Defendants Garcia and Gallegos, the last deputies to see Bernard
 2 Victorianne before he was found dead.” Id. ¶ 74. “Defendant Patrick Gardner was in
 3 charge of the investigation of Bernard Victorianne’s death.” Id. ¶ 75. “Gardner told
 4 Defendant Leslee Hall, the detective heading the homicide investigation, not to
 5 interview or to get reports from Defendants Garcia and Gallegos . . . .” Id. ¶ 76.
 6 “Gardner told Hall not to expect reports from the two deputies. Hall acquiesced without
 7 resistance or minimal discussion and did not question this breach of investigative
 8 protocol.” Id. ¶ 77.
 9         Gardner decided that Internal Affairs would conduct an investigation of
           Defendants Garcia and Gallegos. Gardner determined that ‘in order to
10         ensure that Deputies Garcia and Gallegos’ Peace Officer’s Bill of Rights
           were handled correctly, Internal Affairs investigators would conduct these
11         interviews, while homicide detectives handled the rest.’ During an IA
           interview, deputies are entitled to be represented by legal counsel.
12
     Id. ¶ 78. “Internal Affairs reports and interviews are not shared with the Homicide Unit
13
     nor with [the Citizens’ Law Enforcement Review Board (“CLERB”)] pursuant to Peace
14
     Officers Bill of Rights.” Id. ¶ 79. “Internal Affairs does not begin an investigation until
15
     the Homicide Unit completes its investigation. In this case, IA was not contacted until
16
     two weeks after Bernard’s death.” Id. ¶ 80.
17
           Gardner knew that Sheriff’s Policies required Homicide, not IA, to
18         immediately interview deputies who were critical witnesses. Gardner
           knew that IA interviews of witnesses would not be shared with Homicide
19         or CLERB and that they would remain confidential. Gardner knew that
           IA would not conduct any interviews of deputies while the Homicide
20         investigation was on-going.
21         Defendant Leslee Hall withheld information from the Medical Examiner’s
           officer related to the circumstances of Bernard’s death. She failed to
22         report that Bernard had been asking for help for days before his death.
           She failed to report that he had been placed in administrative segregation
23         instead of being provided medical care.
24 Id. ¶¶ 81-82. “Instead, Defendant Hall reported unrelated material facts intended solely
25 to disparage Bernard: ‘decedent’s history of past DUI’s, drug possession and resisting
26 or lying to police officers. They were also informed of his past probation violations and
27 that he was on parole prior to being arrested.” Id. ¶ 83. “Defendant Leslee Hall failed
28 to interview or obtain reports from the deputies who were the last to see Bernard

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                                          Exhibit 1 - 9
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 1 Victorianne alive. Defendant Hall violated protocols for proper death investigation.”
 2 Id. ¶ 84.
 3          “According to deputies, it was ‘common practice’ to fail to properly conduct
 4 Hard Counts, which requires that each inmate’s well being be verified.” Id. ¶ 86.
 5 “Deputies systematically failed to follow the written policies because there ‘isn’t
 6 enough time to get the job done.’” Id. ¶ 87. “It was ‘common practice’ for deputies to
 7 look into cells and continue on if an inmate appeared to be sleeping.” Id. ¶ 88.
 8          “At the time of Bernard Victorianne’s death, there had been a long-standing
 9 custom and practice of improper and inadequate investigations; cover-up of misconduct;
10 and failure to discipline and train deputies.” Id. ¶ 97. “Deaths of 60 inmates in the San
11 Diego County jails in a span of five years prompted a series of articles by Citybeat, a
12 local newspaper. Citybeat reported that San Diego County had the highest mortality
13 rate among California’s largest jail systems based on data from 2007 to 2012.” Id. ¶ 90.
14 “San Diego County officials, including Defendant Gore, were aware of the systemic
15 problems with preventable deaths in the jails, but took no action to prevent further
16 Constitutional violations.” Id. ¶ 91.
17          “On September 14, 2014, the entire CLERB Board affirmed seven separate
18 counts of misconduct by the Jail Deputies related to the death of Bernard Victorianne.”
19 Id. ¶ 112. The CLERB Board
20          found that two deputies failed to properly conduct a ‘Soft Count’ in
            violation of policy; that two deputies failed to take appropriate action in
21          recognizing, reporting or responding to an inmate’s emergency medical
            needs; that a deputy failed to answer truthfully to a question on a Sheriff’s
22          Employee Response Form; that a deputy failed to conduct a thorough in-
            custody death investigation; and that a supervisor failed to supervise an in-
23          custody death investigation according to policy. CLERB found that the
            medical staff failed to monitor the medical status and well being of an
24          inmate who had ingested a baggie of unkown illicit drug and that ‘the
            symptoms and effects of the decedent’s drug overdose or toxicity were
25          clearly evident, but went largely untreated by medical staff; particularly
            given that it was known and documented in medical records that the
26          decedent had ingested drugs prior to his arrival at SDCJ.’ The Review
            Board, however, lacked jurisdiction over medical staff.
27
      Id. “According to CLERB, deputies lied about their actions to the investigators and the
28
      supervisors failed to properly investigate Bernard’s death, choosing not to take

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                                         Exhibit 1 - 10
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 1 statements from critical witnesses.” Id. ¶ 111.
 2       “Zelda and Bernard Victorianne III did not find out the circumstances
 3 surrounding [Bernard Victorianne’s] death until [CLERB] issued its preliminary
 4 allegations, recommended findings and rationale regarding Bernard’s death.” Id. ¶ 99.
 5         As a result of Defendant’s failure to properly document and investigate the
           conduct of the deputies and their failure to provide information to the
 6         family, Zelda and Bernard Victorianne III were prevented from filing the
           Notice of Claim pursuant to Government Code section 945 et seq. within
 7         six months of Bernard’s death.
 8 Id. ¶ 100. “As a result of Defendants’ fraudulent concealment of the facts, no
 9 reasonable attempts to discover the facts of the case by Plaintiffs would have resulted
10 in any information becoming available to Plaintiffs until CLERB’s findings.” Id. ¶ 101.
11 “Defendants actively hid the facts and circumstances around Bernard’s death. Bernard
12 Victorianne III attempted to discover information regarding his son’s death by
13 contacting the jail, but no one provided any information regarding the investigation or
14 the circumstances around his death.” Id. ¶ 102. “There was no avenue for Bernard’s
15 parents to obtain the investigation file which the County designated as privileged and
16 confidential.” Id. ¶ 103.
17       “Plaintiffs Zelda and Bernard Victorianne III discovered the circumstances of
18 their son’s death on September 5, 2014.” Id. ¶ 104. “On September 11, 2014, Zelda
19 and Bernard Victorianne III filed the Notice of Claim with the County of San Diego.”
20 Id. ¶ 105. “On September 25, 2014, the County of San Diego rejected the claim of
21 Zelda and Bernard Victorianne III. The County issued a ‘Notice of Returned Claim (No
22 Action Taken; Claim Late)’.” Id. ¶ 106. On October 24, 2014, the County of San
23 Diego rejected the claim of the Estate of Bernard Victorianne. The County issued a
24 ‘Notice of Returned Claim (No Action Taken; Claim Late).’” Id. ¶ 107.
25       Until September 5, 2014, when CLERB made public their initial findings
         of the misconduct of San Diego Sheriff deputies, the County officials had
26       only told Plaintiffs Zelda and Bernard Victorianne III that their son died
         of drug overdose. They had no way of knowing or suspecting that 1)
27       deputies and staff failed to conduct appropriate medical screening,
         diagnosis, testing, and treatment when they were aware that Bernard had
28       ingested drugs; 2) Bernard had told deputies and jail staff that his insides
         were on fire; 3) Bernard had begged for help for five days and that he had

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                                       Exhibit 1 - 11
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 1         told deputies and jail staff that something was burning his insides; 4)
           deputies and medical staff failed to properly communicate regarding the
 2         health and welfare of Bernard; 5) deputies and staff punished Bernard by
           placing him in administrative segregation . . . 6) deputies failed to conduct
 3         adequate safety and welfare checks on Bernard, who was placed in
           [administrative segregation] instead of medical observation; 7) deputies
 4         and staff failed to transport Bernard to a hospital for medical treatment
           despite their knowledge of his pain and medical problems and the fact that
 5         he was scheduled to go to a hospital; 8) deputies and staff administered
           powerful drugs . . . instead of transporting Bernard to a hospital; 9)
 6         deputies failed to conduct proper cell checks . . . and 10) deputies and their
           supervisors failed to conduct a proper investigation of Bernard’s death .
 7         ...
 8 Id. ¶ 110.
 9        Plaintiffs in this case plead equitable estoppel against the government
          because: (1) Defendants were appraised of all the facts; (2) Defendants
10        intended that their conduct be acted upon; (3) Plaintiffs were ignorant of
          true state of facts; (4) Plaintiffs relied on Defendants’ conduct to their
11        detriment by not filing the Notice of Claim within six months of Bernard’s
          death; and (5) Plaintiffs would be damaged if they could not maintain the
12        California state causes of action if Defendants are not estopped . . . .
13 Id. ¶ 15.
14         Plaintiffs allege the following causes of actions: (1) Deliberate Indifference to
15 Serious Medical Needs pursuant to 42 U.S.C. § 1983 by Estate of Bernard Victorianne
16 against Defendants Garcia, Gallegos, Almazan, Russell, Lien, Flores, Ayala, Richter,
17 Huang, Nuhic, Gabel, Longno, Sivilay, Roque, Bell, Leicht, and Goldstein; (2)
18 Wrongful Death pursuant to 42 U.S.C. § 1983 by Estate of Bernard Victorianne against
19 Defendants Garcia, Gallegos, Russell, Lien, Flores, Rihter, Huang, Nuhic, Gabel,
20 Longno, Sivilay, Roque, and Bell; (3) Right of Association pursuant to 42 U.S.C. §
21 1983 by Plaintiffs Zelda Victorianne and Bernard Victorianne II against Garcia,
22 Gallegos, Russell, Lien, Flores, Almazan, Richter, Huang, Nuhic, Gabel, Longno,
23 Sivilay, Roque, and Bell; (4) Failure to Properly Train pursuant to 42 U.S.C. § 1983 by
24 Estate of Bernard Victorianne against Defendants County of San Diego, Gore, Leicht,
25 and Goldstein; (5) Failure to Properly Supervise and Discipline pursuant to 42 U.S.C.
26 § 1983 by Estate of Bernard Victorianne against the County of San Diego, Gore,
27 Goldstein, and Leicht; (6) Failure to Properly Investigate pursuant to 42 U.S.C. § 1983
28 by all Plaintiffs against Defendants County of San Diego, Gore, Gardner, Hall,

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                                        Exhibit 1 - 12
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 1 Goldstein, and Leicht; (7) Monell Municipal Liability Civil Rights Action by all
 2 Plaintiffs against Defendant County of San Diego; (8) Wrongful Death, CCP 377.60 et
 3 seq. by all Plaintiffs against Garcia, Gallegos, Russell, Lien, Flores, Almazan, Ayala,
 4 Richter, Huang, Nuhic, Gabel, Longno, Roque, Sivilay, Bell, Leicht, Goldstein, and
 5 County of San Diego; (9) Negligence by all Plaintiffs against all Defendants); (10)
 6 California Civil Rights Violation, Section 52.1 by all Plaintiffs against Ayala, Huang,
 7 and Gabel.
 8      Plaintiffs request general and special damages according to proof at the time of
 9 trial, attorneys’ fees and costs of the suit and interest incurred herein, punitive damages,
10 and any other relief this court deems just and proper. Id. at 51.
11 III. Legal Standard
12       Federal Rule of Civil Procedure 12(b)(6) permits dismissal for “failure to state
13 a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). Federal Rule of
14 Civil Procedure 8(a) provides that “[a] pleading that states a claim for relief must
15 contain . . . a short and plain statement of the claim showing that the pleader is entitled
16 to relief.” Fed. R. Civ. P. 8(a)(2). Dismissal under Rule 12(b)(6) is appropriate where
17 the complaint lacks a cognizable legal theory or sufficient facts to support a cognizable
18 legal theory. See Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
19         “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
20 requires more than labels and conclusions, and a formulaic recitation of the elements
21 of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
22 (quoting Fed. R. Civ. P. 8(a)). When considering a motion to dismiss, a court must
23 accept as true all “well-pleaded factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662,
24 679 (2009). However, a court is not “required to accept as true allegations that are
25 merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”
26 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “In sum, for a
27 complaint to survive a motion to dismiss, the non-conclusory factual content, and
28 reasonable inferences from that content, must be plausibly suggestive of a claim

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                                         Exhibit 1 - 13
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 1 entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir.
 2 2009) (internal quotation marks omitted).
 3 IV. Defendants Gore, Hall, and the County of San Diego’s Motion to Dismiss
 4 (ECF No. 84)
 5         Plaintiffs allege the following claims against Defendant Gore, Sheriff of the
 6 County of San Diego: (4) Failure to Properly Train; (5) Failure to Properly Supervise
 7 and Discipline; (6) Failure to Properly Investigate; and (9) Negligence. Plaintiffs allege
 8 the following claims against Defendant Leslee Hall, the detective heading the homicide
 9 investigation: (6) Failure to Properly Investigate, and (9) Negligence. Plaintiffs allege
10 the following claims against Defendant County of San Diego: (4) Failure to Properly
11 Train; (5) Failure to Properly Supervise and Discipline; (6) Failure to Properly
12 Investigate; (7) Monell Municipal Liability Civil Rights Action; (8) Wrongful Death,
13 CCP 377.60 et seq.; (9) Negligence.
14         A. Failure to Properly Investigate - Defendant Hall
15         Defendants contend that Plaintiffs have failed to state a claim against Defendant
16 Hall because the SAC does not allege that Defendant Hall violated any constitutional
17 right, Defendant Hall owed no duty to Plaintiffs to conduct the investigation, and the
18 investigation occurred after the death and therefore could not violate the decedent’s
19 civil rights. (ECF No. 84-1 at 12).
20         Plaintiffs contend that Bernard Victorianne’s constitutional violation to be free
21 from arbitrary loss of life was violated by “Hall’s failure to properly investigate deputy
22 misconduct” which “led to jail deputies and staff, including those involved in the death
23 of Bernard Victorianne, engaging in constitutional violations with impunity.” (ECF No.
24 105 at 13). Plaintiffs contend that as a result of Defendant Hall’s conduct, Plaintiff
25 Zelda Victorianne and Bernard Victorianne III “were denied an opportunity to file a tort
26 claim with the County of San Diego.” Id. Plaintiffs contend that Defendant Hall has
27 a duty to investigate pursuant to Title 15 § 1064 of the Minimum Standards for Local
28 Detention Facilities. Id. at 15.

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                                        Exhibit 1 - 14
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 1         Defendant Hall was the detective leading the homicide investigation of Bernard
 2 Victorianne. (ECF No. 82 ¶ 76). The SAC alleges that Defendant Hall “refused to
 3 properly investigate the death of Bernard Victorianne” and “covered up the misconduct
 4 of other deputies and withheld information from Bernard’s family and the Medical
 5 Examiner.” Id. ¶ 248. The SAC alleges that “as a direct result of [Defendant Hall’s]
 6 actions, Plaintiffs were prevented from timely filing a Government Tort Claim for their
 7 state causes of action. Plaintiffs were denied access to the Courts under the Due
 8 Process Clause as a result of [Defendant’s] acts.” Id. ¶ 250. The SAC alleges that
 9 “[t]he failure to investigate was the moving force behind the denial of medical care, and
10 cruel and unusual punishment on the decedent Bernard Victorianne and the resulting
11 pain and suffering and death. Id. ¶ 251.
12         A valid claim under 42 U.S.C. § 1983 must allege a violation of a right secured
13 by the Constitution and laws of the United States. West v. Atkins, 487 U.S. 42, 48
14 (1988). Obstructing access to the courts is a constitutional violation. Bell v. City of
15 Milwaukee, 746 F.2d 1205, 1261 (7th Cir. 1984) (“conspiracy to cover up a killing,
16 thereby obstructing legitimate efforts to vindicate the killing through judicial redress,
17 interferes with the due process right of access to courts. . . . This constitutional right is
18 lost where . . . police officials shield from the public and the victim’s family key facts
19 which would form the basis of the family’s claims for redress.”).
20       The SAC sufficiently alleges that Defendant Hall shielded facts from the
21 Plaintiffs that would have put Plaintiffs on notice of their claims against the Defendants
22 resulting from Bernard Victorianne’s death. The SAC sufficiently alleges that
23 Defendant Hall’s failure to adequately investigate the death of Bernard Victorianne
24 interfered with the rights of Plaintiff Zelda Victorianne and Bernard Victorianne III to
25 access the courts. The motion to dismiss the claim against Defendant Hall for failure
26 to properly investigate brought by Plaintiff Zelda Victorianne and Bernard Victorianne
27 III is denied.
28         The SAC fails to allege facts sufficient to show that Defendant Hall engaged in


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                                         Exhibit 1 - 15
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 1 a pattern or practice of failing to investigate misconduct of deputies and medical staff.
 2 The SAC only alleges facts relating to Defendant Hall’s investigation of Bernard
 3 Victorianne’s death. Therefore, the SAC does not allege facts to support a claim that
 4 Defendant Hall’s failure to investigate past misconduct of staff led to violations of
 5 Bernard Victorianne’s constitutional rights. The motion to dismiss the claim by the
 6 Estate of Bernard Victorianne for failure to properly investigate against Defendant Hall
 7 is granted.
 8        B. Constitutional Claims Against Defendant Gore
 9         Defendants contend that Defendant Gore should be dismissed because the SAC
10 alleges claims against Defendant Gore only in his official capacity and such claims are
11 duplicative of the claims against Defendant County of San Diego. (ECF No. 84-1 at 9).
12 Plaintiffs contend that the SAC alleges claims against Defendant Gore in his individual
13 capacity under the theories of supervisory liability and deliberate indifference. (ECF
14 No. 105 at 6-12).
15       “A defendant may be held liable as a supervisor under § 1983 if there exists
16 either (1) his or her personal involvement in the constitutional deprivation, or (2) a
17 sufficient causal connection between the supervisor’s wrongful conduct and the
18 constitutional violation.” Starr v. Baca, 652 F.3d 1202, 1207 (9th Cir. 2011). “The
19 requisite causal connection can be established . . . by setting in motion a series of acts
20 by others, or by knowingly refusing to terminate a series of acts by others, which the
21 supervisor knew or reasonably should have known would cause others to inflict a
22 constitutional injury.” Id. at 1207-1208. “A supervisor can be liable in his individual
23 capacity for his own culpable action or inaction in the training, supervision, or control
24 of his subordinates; for his acquiescence in the constitutional deprivation; or for
25 conduct that showed a reckless or callous indifference to the rights of others.” Id. at
26 1208.
27         The SAC alleges that Defendant Gore failed to properly train, failed to supervise
28 and discipline, and maintained a practice of refusing to investigate specific instances

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                                        Exhibit 1 - 16
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 1 of citizen complaints against the personnel he supervised. The SAC alleges that
 2 Defendant Gore failed to properly train deputies on how to conduct proper cell checks,
 3 and how to prevent inmate deaths. (ECF No. 105 ¶¶ 166-167, 172). The SAC alleges
 4 that Defendant Gore was aware of repeated Constitutional violations and failed to
 5 discipline deputies and medical staff or take corrective measures. Id. ¶¶ 178-185. The
 6 SAC alleges that Gore maintained a practice of not obtaining timely reports from
 7 deputies involved in misconduct and allowing deputies to collaborate with each other
 8 and their supervisory when writing incident reports. Id. ¶¶ 224-226. The SAC states
 9 facts sufficient to infer that Defendant Gore’s practices set in motion acts which caused
10 others to inflict constitutional injury. The Court concludes that Plaintiffs have made
11 sufficient factual allegations against Defendant Gore in his individual capacity to state
12 a claim under 42 U.S.C. § 1983 for failure to properly train and failure to properly
13 supervise and discipline.
14       The facts alleging a pattern and practice of failing to investigate constitutional
15 violations of staff are sufficient to support the claim by the Estate of Bernard
16 Victorianne under 41 U.S.C. § 1983 against Defendant Gore for failure to investigate
17 based on a violation of Bernard Victorianne’s due process rights. The SAC sufficiently
18 alleges that Defendant Gore’s failure to adequately investigate the death of Bernard
19 Victorianne interfered with the rights of Plaintiff Zelda Victorianne and Bernard
20 Victorianne III to access the courts. See Bell, 746 F.2d at 1261. The motion to dismiss
21 Plaintiffs’ claims against Defendant Gore for violations of 42 U.S.C. § 1983 for failure
22 to properly train, failure to properly supervise and discipline, and failure to investigate
23 is denied.
24                C. California Tort Claims
25         Defendants Gore, Hall, and County of San Diego contend that the state causes
26 of action should be dismissed based on Plaintiffs’ failure to comply with the procedural
27 requirements of the California Tort Claims Act (“CTCA”). (ECF No. 84-1 at 13).
28 Defendants contend that “plaintiffs do not allege that they were not aware of their

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                                        Exhibit 1 - 17
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 1 decedent’s death within the six-month claims period” and they do not “allege any facts
 2 to show they did not have a reasonable person inquiry notice or the ability to conduct
 3 a reasonable inquiry.” Id. at 17. Defendants contend that therefore, the delayed
 4 discovery doctrine does not apply to postpone accrual of their cause of action. Id. at 17.
 5 Defendants contend that estoppel “does not apply to forgive [Plaintiffs] from their non-
 6 compliance with the claim filing requirements, because there is no allegation that
 7 affirmative action was taken to deter plaintiffs from filing a claim.” Id.
 8       Plaintiffs contend that Plaintiffs had no way of identifying Defendants’
 9 wrongdoing until CLERB publicly disclosed the results of its investigation on Bernard
10 Victorianne’s death on September 5, 2014. (ECF No. 105 at 17). Plaintiffs contend
11 that upon their discovery, they immediately filed a tort claim. Id. at 18. Plaintiffs also
12 contend that estoppel bars the assertion by the County of San Diego that Plaintiffs failed
13 to comply with CTCA procedures because County officials “engaged in conduct that
14 kept the true facts of Bernard’s death hidden from both his family and the general
15 public.”
16       1. Delayed Discovery Doctrine
17         A party seeking damages from the government due to death or injury must file
18 a claim with the appropriate public entity within six months of the claim’s accrual
19 before bringing a complaint for money damages against the government entity or its
20 employees. Cal. Gov’t Code § 911.2. Compliance with the procedural requirements
21 of the CTCA is a prerequisite to bringing suit against a public agency. Cal. Gov’t Code
22 § 945.4. A claimant whose timely filed claim is rejected may file suit for damages.
23 Cal. Gov’t Code § 945.4. A claimant whose claim is rejected because it is untimely
24 may file an application to the public entity for leave to present the late claim. Cal.
25 Gov’t Code § 911.4. If the public entity denies the application, a claimant may file a
26 petition with a competent court for relief from the requirements of the CTCA. Cal.
27 Gov’t Code § 946.6.
28         Courts have recognized “an important distinction between petitions for leave to


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                                        Exhibit 1 - 18
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 1 file a late claim pursuant to Cal. Gov’t Code § 946.6 and disputes as to whether a claim
 2 is in fact timely. . . .” See Ovando v. City of Los Angeles, 92 F. Supp. 2d 1011, 1022
 3 (C.D. Cal. 2000).
 4         If the complaint concedes the date of accrual of the cause of action and
           concedes that the claim was not presented to the appropriate agency within
 5         six  months of the accrual, then recourse must be sought under Section
           946.6 . . . . However, where there is a dispute regarding the public entity’s
 6         finding of untimeliness, the claimant’s recourse is to file a complaint on
           the merits. The issue of timeliness can then be raised in the form of a
 7         demurrer,     motion for summary judgment, motion for judgment on the
           pleadings or motion to strike. A dispute over when a claim accrued is a
 8         question of whether the claimant has complied with the CTCA and is
           within a federal court’s jurisdiction.
 9
   See id. (citations omitted).
10
           The accrual date is generally set as the date “when under the substantive law, the
11
   wrongful act is done or the wrongful result occurs, and the consequent liability arises.”
12
   K.J. v. Arcadia Unified School Dist., 92 Cal.Rptr.3d 1, 8 (Cal. App. 2009). The delayed
13
   discovery doctrine creates an exception to the general rule “and protects a plaintiff by
14
   postponing accrual of a cause of action until the plaintiff discovers, or has reason to
15
   discover, the cause of action.” Id. at 10. Plaintiff is deemed to have discovered the
16
   cause of action “when he at least suspects a factual basis, as opposed to a legal theory,
17
   for its elements, even if he lacks knowledge thereof . . . .” Id. “Once the elements of
18
   delayed discovery are pleaded, the question of whether plaintiffs have exercised due
19
   diligence in discovering [the cause of action] is one of fact.” Ovando, 92 F. Supp. 2d
20
   at 1023.
21
           In this case, Plaintiffs have sufficiently alleged facts in the SAC to support a
22
   finding that they did not discover, and they did not have the opportunity to discover, the
23
   Defendants’ alleged wrongdoing until September 5, 2014 when CLERB released the
24
   results of its investigation. (See ECF No. 82 ¶¶ 98-104, 110). The factual allegations
25
   of the SAC are sufficient to support the conclusion that government employees
26
   concealed their wrongdoing. See id. Whether the delayed discovery doctrine applies
27
   in this case is a question of fact that cannot be determined at this stage of the
28
   proceedings.

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                                        Exhibit 1 - 19
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 1         2. Estoppel
 2         “A public entity may be estopped from asserting non-compliance with the CTCA
 3 when affirmative acts of its agents, especially authority figures, deterred the filing of
 4 a timely claim.” Ovando, 92 F. Supp. 2d at 1023; see also K.J., 92 Cal.Rptr.3d at 9
 5 (“[A] public entity may be estopped from asserting the limitations of the claims statute
 6 where its agents or employees have prevented or deterred the filing of a timely claim
 7 by some affirmative act.”). Plaintiffs successfully plead estoppel “where (1) the party
 8 to be estopped is appraised of the facts; (2) it intends that its conduct be acted upon; (3)
 9 the estopping party was ignorant of the true state of facts; (4) the estopping party relies
10 on the other party’s conduct to her detriment; and (5) the plaintiff demonstrates that the
11 injury to her personal interests if the government is not estopped exceeds the injury to
12 the public interest if the government is estopped.” See Ovando, 92 F. Supp. 2d at 1024
13 (citing Stewart v. City of Pismo Beach, 42 Cal.Rptr.2d 382, 385 (Cal. App. 1995).
14 Whether equitable estoppel prevents the County of San Diego and its employees from
15 asserting a defense that Plaintiffs failed to comply with the claims statutes “is a question
16 of fact for the trial court.” See John R. v. Oakland Unified School Dist., 769 P.2d 948,
17 952 (Cal. 1989).
18       In this case, the SAC alleges that “Defendants actively hid the facts and
19 circumstances around Bernard’s death. Bernard Victorianne III attempted to discover
20 information regarding his son’s death by contacting the jail, but no one provided any
21 information regarding the investigation or the circumstances around his death.” (ECF
22 No. 82 ¶ 102). The SAC alleges that “[u]ntil September 5, 2014, when CLERB made
23 public their initial findings of the misconduct of San Diego Sheriff deputies, the County
24 officials only told Plaintiffs Zelda and Bernard Victorianne III that their son died of a
25 drug overdose.” Id. ¶ 110. The SAC alleges that “[t]here was no avenue for Bernard’s
26 parents to obtain the investigation file which the County designated as privileged and
27 confidential.” Id. ¶ 103. The SAC alleges that “[a]s a result of Defendants’ failure to
28 properly document and investigate the conduct of the deputies and their failure to

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                                         Exhibit 1 - 20
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 1 provide information to the family, Zelda and Bernard Victorianne III were prevented
 2 from filing the Notice of Claim . . . within six months of Bernard’s death.” Id. ¶ 100.
 3 The SAC alleges that “Plaintiffs would be damaged if they could not maintain the
 4 California state causes of action . . . .” Id. ¶ 115.
 5           Plaintiffs have alleged sufficient facts to infer that Defendants intended Plaintiffs
 6 to rely on their statement that Bernard Victorianne died of a drug overdose, that
 7 Defendants knew the truth, and that Plaintiffs relied to their detriment on Defendants’
 8 statements and lack of other information available to them regarding the circumstances
 9 of Bernard Victorianne’s death. Plaintiffs have alleged sufficient facts to infer that
10 Plaintiffs’ detrimental reliance resulted in Plaintiffs’ delay in bringing suit against
11 Defendants. See Oakland Unified School Dist., 769 P.2d at 952. Plaintiffs have alleged
12 facts sufficient to support a finding of equitable estoppel.
13        D. Negligent Hiring, Training, and Supervision
14           Defendants Gore, Hall, and the County of San Diego contend that Plaintiffs’
15 claim for negligent hiring, training, and supervision should be dismissed because it does
16 not state a cognizable statutory theory of recovery. (ECF No. 84-1 at 18). Plaintiffs
17 assert,
18           To the extent that Defendant County seeks to dismiss and/or strike
             allegations of the complaint for negligent training and supervision,
19           Plaintiffs agree that DeVillers v. County of San Diego controls. Defendant
             County has correctly noted that “there is no statutory basis for public
20           entity liability for negligent hiring, training and supervision” and “no such
             cause of action can be stated in the complaint.” Thus, to the extent
21           Plaintiff’s ninth cause of action contains allegations of negligent hiring,
             training, and supervision (SAC ¶¶ 295-297), Plaintiffs agree that such
22           allegations should be stricken from the second amended complaint.
23 (ECF No. 105 at 20). The motion to dismiss is granted as to Plaintiffs’ negligence
24 claims against Defendants Gore, Hall, and the County of San Diego for negligent hiring,
25 training, and supervision.
26        E. Negligent Investigation
27           Defendants Hall contends that a claim for negligent investigation is not
28 actionable. (ECF No. 108 at 6-7). Plaintiffs contend that their claim against Defendant

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 1 Hall is not based on negligence. (ECF No. 105 at 15).
 2        “A public employee is not liable for injury caused by his instituting or
 3 prosecuting any judicial or administrative proceeding within the scope of his
 4 employment, even if he acts maliciously and without probable cause.” Cal. Gov. Code
 5 § 821.6. “Except as otherwise provided by statute, a public entity is not liable for any
 6 injury resulting from an act or omission of any employee of the public entity where the
 7 employee is immune from liability.” Cal. Gov. Code § 825.2(b). Pursuant to Cal. Gov.
 8 Code § 815.2 and 821.6, a public entity is immune from liability for the actions or
 9 omissions of investigating officers if (1) the officers were employees of the public
10 entity; (2) Plaintiff’s injuries were caused by acts committed by the officers to institute
11 or prosecute a judicial or administrative proceeding; and (3) the conduct of the officers
12 while instituting or prosecuting the proceeding was within the scope of their
13 employment. See Amylou R. v. County of Riverside, 34 Cal.Rptr.2d 319, 321 (Cal. App.
14 1994). “Because investigation is an essential step toward the institution of formal
15 proceedings, it is also cloaked with immunity.” Id. (citations and internal quotation
16 marks omitted).
17         To the extent that Plaintiffs attempt to state a claim for negligence based on
18 Defendants’ investigation, or purported lack thereof, the claim fails as a matter of law
19 because Defendants are immune from liability for investigations under Cal. Gov. Code
20 § 821.6. See Struk v. Bush, 10CV348., 2011 WL 5827196, at *10 (S.D. Cal. Nov. 18,
21 2011) (“Defendant is immune from liability under California Government Code section
22 821.6 for his investigatory conduct. Section 826.1 immunizes officers for actions taken
23 within the scope and course of their employment . . . including investigatory actions .
24 . .”). The motion to dismiss is granted as to Plaintiff’s claims against Defendants Gore,
25 Hall, and the County of San Diego for negligent investigation.
26         F. Government Immunity for Wrongful Death
27         Defendant County of San Diego contends that the County has absolute immunity
28 from a suit for wrongful death because Bernard Victorianne was a prisoner in central

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                                        Exhibit 1 - 22
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 1 jail. (ECF No. 84-1 at 19). Plaintiffs contend that an exception to immunity applies
 2 because the employees knew or had reason to know that Bernard Victorianne was in
 3 need of immediate medical care and failed to take reasonable action to provide him such
 4 care. (ECF No. 105 at 20).
 5         Section 844.6 of Cal. Gov. Code states that
 6         (a) Notwithstanding any other provision of this part, except as provided in
           this section and in Section[] . . . 845.6, . . . a public entity is not liable for:
 7         . . . (2) An injury to any prisoner . . . (d) Nothing in this section exonerates
           a public employee from liability for injury proximately caused by his
 8         negligent or wrongful act or omission . . . . the public entity shall pay . . .
           any judgment based on a claim against a public employee who is lawfully
 9         engaged in the practice of one of the healing arts under any law of this
           state for malpractice arising from an act or omission in the scope of his
10         employment . . . .
11 Cal. Gov. Code § 844.6.
12       Section 845.6 of Cal. Gov. Code states that
13         Neither a public entity nor a public employee is liable for injury
           proximately caused by the failure of the employee to furnish or obtain
14         medical care for a prisoner in his custody; but . . . a public employee, and
           the public entity where the employee is acting within the scope of his
15         employment, is liable if the employee knows or has reason to know that
           the prisoner is in need of immediate medical care and he fails to take
16         reasonable action to summon such medical care . . . .
17 Cal. Gov. Code § 845.6.
18       The SAC alleges that deputies failed to verify Bernard Victorianne’s well-being
19 by not complying with ‘Soft Count’ and ‘Hard Count’ procedures. (ECF No. 82 ¶¶
20 45-57). The SAC alleges that “[o]n September 19, 2012 at 4:00 a.m., Defendant
21 deputies Garcia and Gallegos found Bernard lying on the ground and observed that he
22 was not moving.” Id. ¶ 58. The SAC alleges that “[a]fter noting that Bernard had
23 ‘twitched,’ the Defendant deputies left Bernard’s cell without receiving verbal or
24 physical acknowledgement from Bernard.” Id. ¶ 60. The SAC alleges that “Defendants
25 never alerted medical staff despite indications that Bernard was in medical distress.”
26 Id. The SAC alleges sufficient facts to infer that County employees failed to take
27 reasonable action to summon necessary medical care for Bernard Victorianne when they
28 knew or should have known that he was in medical distress. Therefore, Defendant

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 1 County of San Diego may be liable pursuant to Cal. Gov. Code § 845.6.
 2      G. Claim Against County of San Diego Under California Civil Code § 52.1
 3         Defendants contend that the CTCA does not give Plaintiffs authority to bring a
 4 claim for damages under California Civil Code § 52.1 because Section 52 does not
 5 apply to government entities. (ECF No. 84-1 at 20). Defendants contend that Plaintiffs
 6 do not state a claim under Cal. Civ. Code § 52.1 because Plaintiffs do not allege that
 7 Defendants prevented Plaintiffs or decedent from engaging in constitutionally protected
 8 activity “by threat, intimidation or coercion .” Id. at 21.
 9        Plaintiffs contend that the County of San Diego is vicariously liable for injury
10 caused by its agents and employees’ violations of Civil Code § 52.1. (ECF No. 105 at
11 23). Plaintiffs contend that they have properly alleged a Section 52.1 claim by alleging
12 that Defendants violated Bernard Victorianne’s “right under Civil Code § 43 to be free
13 from ‘bodily restraint or harm, from personal insult, from defamation, and from injury
14 to his personal relations.’” Id. at 23.
15        “Section 52.1 authorizes a claim for relief ‘against anyone who interferes, or tries
16 to do so, by threats, intimidation, or coercion, with an individual’s exercise or
17 enjoyment of rights secured by federal or state law.’” See Knapps v. City of Oakland,
18 647 F. Supp. 2d 1129, 1168 (N.D. Cal. 2009) (quoting Jones v. Kmart Corp., 949 P.2d
19 941 (Cal. App. 1998). “To obtain relief under this statute, a plaintiff must prove that
20 a defendant tried to, or did, prevent the plaintiff from doing something that he had a
21 right to do under the law, or to force plaintiff to do something that he was not required
22 to do under the law.” Id. (citing Austin B. v. Escondido Union School Dist., 57
23 Cal.Rptr.3d 454). A public entity can be vicariously liable under the theory of
24 respondeat superior for a violation of section 52.1 by government officers or employees
25 acting in the course and scope of their employment. Cal. Gov. Code § 815.2; see also
26 Knapps, 647 F. Supp. 2d at 1168-69 (“The Court also finds that the City of Oakland is
27 vicariously liable [for violation of Plaintiff’s rights under section 52.1] under the theory
28 of respondeat superior because the officers were acting in the course and scope of

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                                        Exhibit 1 - 24
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 1 employment at the time of their tortious conduct.”).
 2      The SAC does not allege that Defendant County of San Diego violated California
 3 Civil Code section 52.1. See ECF No. 82 at 49. To the extent that the claims alleged
 4 in the SAC against Defendants Ayala, Huang, and Gabel pursuant to section 52.1 result
 5 in a finding that government officers or employees violated section 52.1 in the course
 6 and scope of their employment, the County of San Diego may be vicariously liable
 7 under the theory of respondeat superior. See Cal. Gov. Code § 815.2; Knapps, 647 F.
 8 Supp. 2d at 1168-69.
 9         H. Punitive Damages Against County of San Diego
10         Defendant County of San Diego contends that public entities are immune from
11 exemplary or punitive damages under Government Code section 818. (ECF No. 84-1
12 at 22). Plaintiffs do not oppose this contention.
13         Section 3294 of Cal. Civ. Code defines the circumstances under which exemplary
14 damages may be recovered. Cal. Civ. Code § 3294. Section 818 of Cal. Gov. Code
15 states, “Notwithstanding any other provision of law, a public entity is not liable for
16 damages awarded under Section 3294 of the Civil Code or other damages imposed
17 primarily for punishing the defendant.” Cal. Gov. Code § 818.
18         The Court concludes that pursuant to section 818 of Cal. Gov. Code, Defendant
19 County of San Diego is not liable for punitive or exemplary damages.
20      I. Motion to Strike References to the Estate of Bernard Victorianne
21         Defendants move to strike references to the “Estate of Bernard Victorianne” from
22 the SAC because they are improper. Defendants contend that in seeking to be
23 recognized as the decedent’s successor in interest, Zelda Victorianne informed the court
24 that no probate proceeding was instituted by reason of decedent’s death. Defendants
25 contend that as a result, there is no existing estate.
26         Plaintiffs contend that the word “estate” is not specifically defined in probate
27 code and therefore courts should use the ordinary meaning of the term. Plaintiffs
28 contend that “[t]o hold that the term ‘estate’ can only be used after administration by

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                                       Exhibit 1 - 25
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 1 probate would render meaningless all provisions regarding intestate succession.” (ECF
 2 No. 105 at 24). Plaintiffs contend that the Estate of Bernard Victorianne is properly
 3 named as a plaintiff.
 4      Federal Rule of Civil Procedure 12(f) provides that a “court may strike from a
 5 pleading an insufficient defense or any redundant, immaterial, impertinent, or
 6 scandalous matter.” The Court concludes that references to “the Estate of Bernard
 7 Victorianne” in the SAC do not meet the standard set forth in Rule 12(f). The motion
 8 to strike references to “the Estate of Bernard Victorianne” in the SAC is denied.
 9         J. Conclusion
10         The motion to dismiss the claim by the Estate of Bernard Victorianne against
11 Defendant Hall for failure to properly investigate is granted. The motion to dismiss the
12 claim by Zelda Victorianne and Bernard Victorianne III against Defendant Hall for
13 failure to properly investigate is denied. The motion to dismiss the claims by Plaintiffs
14 against Defendant Gore for failure to properly train, failure to properly supervise and
15 discipline, and failure to investigate is denied. The motion to dismiss claims by
16 Plaintiffs against Defendant Gore, Hall, and the County of San Diego for negligent
17 hiring, training, and supervision and negligent investigation is granted. The motion to
18 dismiss the claim by Plaintiff against Defendant County of San Diego for wrongful
19 death is denied. The motion to dismiss Plaintiff’s claim for punitive damages against
20 Defendant County of San Diego is granted. The motion to strike references to the
21 “Estate of Bernard Victorianne” is denied.
22 V. Defendant Gardner’s Motion to Dismiss (ECF No. 107)
23         Plaintiffs allege the following claims against Defendant Gardner, the investigator
24 in charge of investigating Bernard Victorianne’s death: (6) Failure to Properly
25 Investigate and (9) Negligence.
26         A. Failure to Investigate
27         Defendant Gardner contends that the SAC fails to identify a constitutional right
28 that he violated. (ECF No. 107-1 at 3). Defendant Gardner contends that “the SAC

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                                       Exhibit 1 - 26
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 1 does not allege that plaintiffs had a constitutional right that prohibited the Sheriff’s
 2 Department from investigating Victorianne’s death by using the resources of . . . the
 3 Homicide division and the Internal Affairs division.” Id. Plaintiffs contend that
 4 Defendant Gardner “substantially infringed upon Bernard’s parents’ right to seek timely
 5 and effective redress for their grievances through the court process.” (ECF No. 121 at
 6 8).
 7         The SAC alleges that “Defendant Gardner prevented Homicide from conducting
 8 a full and thorough investigation by assigning [Internal Affairs] to interview Defendants
 9 Garcia and Gallegos. Gardner knew he was violating the written policies by preventing
10 Homicide from interviewing the last deputies to see Bernard Victorianne alive.” (ECF
11 No. 82 247). The SAC alleges that Defendant Gardner “refused to properly investigate
12 the death of Bernard Victorianne” and “covered up the misconduct of other deputies
13 and withheld information from Bernard’s family and the Medical Examiner.” Id. ¶ 248.
14 The SAC alleges that “as a result of [Defendant Gardner’s] actions, Plaintiffs were
15 prevented from timely filing a Government Tort Claims for their state causes of action.”
16 Id. ¶ 250. The SAC alleges that “Defendants were deliberately indifferent to the needs
17 of Plaintiff Bernard Victorianne” and “[t]he failure to investigate was the moving force
18 behind the denial of medical care, and cruel and unusual punishment on the decedent
19 Bernard Victorianne and the resulting pain and suffering and death. Id. ¶ 251.
20         The SAC contains conclusory allegations that Defendants engaged in a pattern
21 and practice of failing to properly investigate misconduct of deputies and medical staff
22 which “created a culture of unconstitutional acts.” Id. ¶ 242. The SAC fails to allege
23 facts sufficient to show that Defendant Gardner was engaged in a pattern or practice
24 of failing to investigate misconduct of deputies and medical staff. The SAC only
25 alleges facts relating to Defendant Gardner’s investigation of Bernard Victorianne’s
26 death. The Court concludes that the SAC does not sufficiently allege that Defendant
27 Gardner’s failure to investigate past misconduct of staff led to violations of Bernard
28 Victorianne’s constitutional rights. The motion to dismiss the claim brought by the

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                                       Exhibit 1 - 27
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 1 Estate of Bernard Victorianne against Defendant Gardner for failure to properly
 2 investigate is granted.
 3         The SAC sufficiently alleges facts to support an inference that Defendant
 4 Gardner shielded facts from Plaintiffs Zelda Victorianne and Bernard Victorianne III
 5 that would have put Plaintiffs on notice of their claims against the Defendants resulting
 6 from the death of their son. The SAC sufficiently alleges facts to support a finding that
 7 Defendant Gardner’s failure to adequately investigate the death of Bernard Victorianne
 8 interfered with the rights of Plaintiff Zelda Victorianne and Bernard Victorianne III to
 9 access the courts. See Bell, 746 F.2d at 1261 (“conspiracy to cover up a killing, thereby
10 obstructing legitimate efforts to vindicate the killing through judicial redress, interferes
11 with the due process right of access to courts. . . . This constitutional right is lost where
12 . . . police officials shield from the public and the victim’s family key facts which would
13 form the basis of the family’s claims for redress.”). The motion to dismiss the claim
14 brought by Plaintiff Zelda Victorianne and Bernard Victorianne III against Defendant
15 Gardner for failure to properly investigate is denied.
16         B. Negligence
17         A state claim for negligent investigation is not cognizable against Defendant
18 Gardner. See Cal. Gov. Code § 821.6; see also Amylou R., 34 Cal.Rptr.2d at 321
19 (“Because investigation is an essential step toward the institution of formal proceedings,
20 it is also cloaked with immunity.”). The motion to dismiss the claim for negligence
21 against Defendant Gardner is granted.
22         C. Motion to Strike References to the Estate of Bernard Victorianne
23         The Court has determined that references to the “Estate of Bernard Victorianne”
24 in the SAC do not meet the standard for striking material from a pleading under Federal
25 Rule of Civil Procedure 12(f). The motion to strike references to the “Estate of Bernard
26 Victorianne” is denied.
27       D. Conclusion
28         The motion to dismiss the claim brought by the Estate of Bernard Victorianne


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                                         Exhibit 1 - 28
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 1 against Defendant Gardner for failure to properly investigate is granted. The motion
 2 to dismiss the claim brought by Plaintiff Zelda Victorianne and Bernard Victorianne III
 3 against Defendant Gardner for failure to properly investigate is denied. The motion to
 4 dismiss the claim for negligence against Defendant Gardner is granted. The motion to
 5 strike references to the “Estate of Bernard Victorianne” is denied.
 6 VI. Defendant Goldstein’s Motion to Dismiss (ECF No. 102) and Defendant
 7 Leicht’s Motion to Dismiss (ECF No. 117)
 8       Plaintiffs allege the following claims against Defendant Goldstein, the Medical
 9 Director for the Sheriff’s Department, and Defendant Leicht, Medical Services
10 Administrator for the Sheriff’s Department: (4) Failure to Properly Train; (5) Failure
11 to Properly Supervise and Discipline ; (6) Failure to Properly Investigate; (8) Wrongful
12 Death, CCP 377.60 et seq.; and (9) Negligence.
13         A. Constitutional Claims
14         Defendants Goldstein and Leicht contend that Plaintiffs’ claims against them
15 should be dismissed because the SAC alleges claims against Defendants Goldstein and
16 Leicht only in their official capacity, and such claims are duplicative of claims against
17 the County of San Diego. (ECF No. 102-1 at 6-7; ECF No. 117-1 at 7). Plaintiffs
18 contend that the SAC alleges claims against Defendant Goldstein and Leicht in their
19 individual capacity under theories of supervisory liability for conduct that demonstrates
20 “reckless or callous indifference to the rights of others.” (ECF No. 110 at 8; ECF No.
21 131 at 8). Plaintiffs contend that Defendants Goldstein and Leicht tolerated their
22 subordinates’ deliberate indifference to providing medical care to inmates and
23 acquiesced in constitutional violations by refusing to implement improved policies and
24 procedures. (ECF No. 110 at 10; ECF No. 131 at 10).
25         A pretrial detainees’ claim for inadequate medical treatment pursuant to 42
26 U.S.C. § 1983 “arises from the due process clause of the fourteenth amendment and not
27 from the eighth amendment . . . .” Jones v. Johnson, 782 F.2d 769, 771 (9th Cir. 1986),
28 (rev’d on other grounds, Peralta v. Dillard, 744 F.3d 1076 (9th Cir. 2014)). Although

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 1 a pretrial detainee’s claim “arises under the due process clause, the eighth amendment
 2 guarantees provide a minimum standard of care for determining [the pretrial detainee’s]
 3 rights, including his right to medical care.” Id. To maintain a cause of action based on
 4 prison medical treatment pursuant to 42 U.S.C. § 1983, an inmate must show
 5 “deliberate indifference to serious medical needs.” See Jett v. Penner, 439 F.3d 1091,
 6 1096 (9th Cir. 2006) (citing Estelle v. Gamble, 429 U.S. 97, 104 (1976). “Prison
 7 officials are deliberately indifferent to a prisoner’s serious medical needs when they
 8 ‘deny, delay, or intentionally interfere with medical treatment.’” Lopez v. Smith, 203
 9 F.3d 1122, 1131 (9th Cir. 2000) (citing Estelle, 429 U.S. at 104). Serious medical
10 needs may include “the existence of an injury that a reasonable doctor or patient would
11 find important and worthy of comment or treatment; the presence of a medical condition
12 that significantly affects an individual’s daily activities; or the existence of chronic and
13 substantial pain.” Id. “A prison official is deliberately indifferent to a substantial risk
14 of serious harm to inmates if that official is subjectively aware of the risk and does
15 nothing to prevent the resulting harm.” Jeffers v. Gomez, 267 F.3d 895, 913 (9th Cir.
16 2001) (citing Farmer v. Brennan, 511 U.S. 825, 828-29 (1994). “Deliberate
17 indifference requires that an official both be aware of facts from which the inference
18 could be drawn that a substantial risk of serious harm exists, and he must also draw the
19 inference.” Id. Whether the official drew the inference or was subjectively aware of
20 the risk is a question of fact. See Farmer, 511 U.S. at 842.
21         The SAC alleges that “Defendants Leicht and Goldstein were deliberately
22 indifferent to Bernard Victorianne’s serious medical needs by failing to properly set
23 forth policies and procedures for proper care of inmates in medical distress.” (ECF No.
24 82 ¶ 142). The SAC alleges that Defendants “Leicht and Goldstein knew that a
25 significant number of inmates booked in Central Jail suffered from drug intoxication,
26 or overdose.” Id. ¶ 143. The SAC alleges that
27       Defendants Leicht and Goldstein knew that the policies they had
         implemented with respect to medical care of inmates suffering from drug
28       overdose were grossly inadequate. Defendants Leicht and Goldstein were
         aware of the disproportionately high number of deaths in San Diego

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                                        Exhibit 1 - 30
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 1           County Jails. Defendants Leicht and Goldstein acted with deliberate
             indifference in failing to implement policies with respect to evaluation and
 2           treatment of inmates suffering from drug overdose.
 3 Id. ¶ 144. The SAC alleges that “[p]ursuant to the policies and procedures set by
 4 Defendants Leicht and Goldstein, Bernard Victorianne was not seen by a medical doctor
 5 for days despite warnings by Alvarado Hospital and knowledge by the medical staff that
 6 he had ingested a baggie of meth . . . .” Id. ¶ 146. The SAC alleges that
 7           [b]y failing to set forth procedures on proper care of inmates, including
             mandates that inmates who have ingested drugs be observed in Medical;
 8           that they be placed in a Sobering Cell; that they be monitored regularly by
             a medical doctor; that the inmate be transported to a hospital when
 9           exhibiting obvious signs of overdose, Leicht and Goldstein were
             deliberately indifferent to Bernard Victorianne’s serious medical need.
10
      Id. ¶ 147.
11
             The SAC alleges that officials of the San Diego Sheriff’s Department have
12
      subjected inmates to a “widespread and persistent pattern of unconstitutional
13
      misconduct.” Id. ¶ 165. The SAC alleges that Defendants Goldstein and Leicht failed
14
      to properly train medical staff to care for inmates suffering from drug overdose. Id. ¶
15
      169. The SAC alleges that Defendants Goldstein and Leicht failed to provide adequate
16
      supervision and discipline to medical staff. Id. ¶ 178. The SAC alleges that Defendants
17
      Goldstein and Leicht engaged in a pattern and practice of failing to investigate staff
18
      misconduct, creating “a culture of unconstitutional acts and acts that violate the Jail’s
19
      own policies and procedures.” Id. ¶¶ 240, 242. The SAC alleges that “[a]s a direct and
20
      proximate result of all Defendants’ conduct, Bernard Victorianne experienced physical
21
      pain, severe emotional distress, and mental anguish for days, as well as loss of his life
22
      . . . .” Id. ¶ 148.
23
             The SAC alleges sufficient facts to infer that the practices of Defendant Goldstein
24
      and Leicht set in motion acts which caused others to inflict constitutional injury. See
25
      Starr, 652 F.3d at 1207-1208 (“The requisite causal connection [between a supervisor’s
26
      wrongful conduct and the constitutional violation] can be established . . . by setting in
27
      motion a series of acts by others, or by knowingly refusing to terminate a series of acts
28
      by others, which the supervisor knew or reasonably should have known would cause

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                                          Exhibit 1 - 31
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 1 others to inflict a constitutional injury.”). Plaintiffs have made sufficient factual
 2 allegations against Defendants Goldstein and Leicht in their individual capacities to
 3 support a finding for failure to properly train, and failure to properly supervise and
 4 discipline under 42 U.S.C. § 1983.
 5         The SAC alleges sufficient facts to support an inference that Defendants
 6 Goldstein and Leicht were subjectively aware that their policies and procedures, or lack
 7 thereof, created a substantial risk of harm to inmates suffering from drug overdose and
 8 did nothing to alleviate the resulting harm. See Farmer, 511 U.S. at 837-38, 844.
 9 Plaintiffs have made sufficient allegations against Defendants Goldstein and Leicht in
10 their individual capacities to support a finding for deliberate indifference to serious
11 medical needs under 42 U.S.C. § 1983.
12         The facts alleging a pattern and practice of failing to investigate constitutional
13 violations of medical staff are sufficient to support Plaintiff Estate of Bernard
14 Victorianne’s claim against Defendants Goldstein and Leicht under 41 U.S.C. § 1983
15 for failure to investigate based on a violation of Bernard Victorianne’s due process
16 rights. The facts do not allege that Defendants Goldstein or Leicht obstructed Plaintiffs
17 Zelda Victorianne and Bernard Victorianne III’s right to access courts or any other
18 constitutional right. The facts alleged do not support Plaintiff Zelda Victorianne and
19 Bernard Victorianne III’s claim against Defendants Goldstein and Leicht under 41
20 U.S.C. § 1983 for failure to investigate.
21         The motions to dismiss the claims against Defendants Goldstein and Leicht for
22 failure to properly train, failure to properly supervise and discipline, and deliberate
23 indifference to serious medical needs are denied. The motions to dismiss claims
24 brought by Zelda Victorianne and Bernard Victorianne III for failure to investigate
25 against Defendants Goldstein and Leicht are granted. The motions to dismiss claims
26 brought by the Estate of Bernard Victorianne III for failure to investigate against
27 Defendants Goldstein and Leicht are denied.
28         B. Tort Claims for Negligence and Wrongful Death (CCP 377.60)


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                                        Exhibit 1 - 32
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 1         The Court has determined that the SAC has alleged sufficient facts to support a
 2 finding that either (1) Plaintiffs’ claim was timely filed under the CTCA, or (2)
 3 equitable estoppel prevents Defendants from raising Plaintiffs’ failure to timely file a
 4 claim because the delay was caused by Defendants’ own misconduct.
 5       A claim for negligence requires duty, breach, causation, and damages. Hayes v.
 6 County of San Diego, 305 P.3d 252, 255 (Cal. 2013). A statutory claim for wrongful
 7 death under California Code of Civil Procedure § 377.60 requires a wrongful act,
 8 causation, and the death of another. Norgart, 981 P.2d at 83.
 9       The SAC alleges that “Defendants Leicht and Goldstein . . . failed to set forth
10 policies regarding medical treatment of inmates suffering from drug overdose or
11 toxicity.” (ECF No. 82 ¶ 290). The SAC alleges that “Defendants Leicht and Goldstein
12 . . . failed to set forth policies regarding proper screening, evaluation, treatment, and
13 transportation of inmates suffering from a serious medical condition.” Id. ¶ 291. The
14 SAC alleges that “Defendants Leicht and Goldstein . . . failed to supervise their medical
15 staff.” Id. ¶ 292. The SAC alleges that “[b]y engaging in the acts alleged herein,
16 Defendants failed to act with ordinary care and breached their duty of care owed to
17 Bernard Victorianne.” Id. ¶ 293. The Court concludes that the SAC alleges sufficient
18 facts to support a finding of negligence and wrongful death. The motions to dismiss
19 Plaintiffs’ claims against Defendants Goldstein and Leicht for negligence and wrongful
20 death are denied.
21       C. Motions to Strike References to the Estate of Bernard Victorianne
22         The Court has determined that references to the “Estate of Bernard Victorianne”
23 in the SAC do not meet the standard for striking material from a pleading under Federal
24 Rule of Civil Procedure 12(f). The motion to strike references to the “Estate of Bernard
25 Victorianne” is denied.
26       D. Conclusion
27         The motions to dismiss claims by Plaintiffs against Defendants Goldstein and
28 Leicht for failure to properly train, failure to properly supervise and discipline, and

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 1 deliberate indifference to serious medical needs are denied. The motions to dismiss
 2 claims brought by Zelda Victorianne and Bernard Victorianne III for failure to
 3 investigate against Defendants Goldstein and Leicht are granted. The motions to
 4 dismiss claims brought by the Estate of Bernard Victorianne III for failure to investigate
 5 against Defendants Goldstein and Leicht are denied. The motions to dismiss Plaintiffs’
 6 claims against Defendant Goldstein and Leicht for negligence and wrongful death are
 7 denied. The motions to strike references to the “Estate of Bernard Victorianne” are
 8 denied.
 9 VII. Defendants Almazan, Ayala, Flores, Gallegos, Garcia, Lien, and Russell’s
10 Motion to Dismiss (ECF No. 116)
11          Plaintiffs allege the following claims against Defendant Deputies Flores,
12 Gallegos, Garcia, Lien, and Russell: (1) Deliberate Indifference to Serious Medical
13 Needs under 42 U.S.C. § 1983; (2) Wrongful Death under 42 U.S.C. § 1983; (3) Right
14 of Association under 42 U.S.C. § 1983; (8) Wrongful Death, CCP 377.60 et seq.; and
15 (9) Negligence. Plaintiffs allege the following claims against Defendant Almazan: (1)
16 Deliberate Indifference to Serious Medical Needs under 42 U.S.C. § 1983; (3) Right of
17 Association under 42 U.S.C. § 1983; (8) Wrongful Death, CCP 377.60 et seq.; and (9)
18 Negligence. Plaintiffs allege the following claims against Defendant Ayala: (1)
19 Deliberate Indifference to Serious Medical Needs under 42 U.S.C. § 1983; (8)
20 Wrongful Death, CCP 377.60 et seq.; (9) Negligence; and (10) violation of California
21 Civil Code § 52.1.
22          A. Deliberate Indifference to Serious Medical Needs
23          Defendants contend that the claim for deliberate indifference to serious medical
24 needs against Defendant deputies should be dismissed because the SAC does not allege
25 facts showing that each deputy knew Victorianne was experiencing methamphetamine
26 overdose and ignored his condition. (ECF No. 116-1 at 4).
27       Plaintiffs contend that “[w]hether Defendants drew the inference that a
28 substantial risk of harm existed . . . is a jury question. . . . It is sufficient that Plaintiffs

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                                           Exhibit 1 - 34
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 1 have alleged circumstantial evidence from which the inference could be drawn that a
 2 substantial risk of serious harm existed and Defendants ignored it.” (ECF No. 130 at
 3 9).
 4         To maintain a cause of action based on prison medical treatment pursuant to 42
 5 U.S.C. § 1983, an inmate must show “deliberate indifference to serious medical needs.”
 6 See Jett, 439 F.3d at1096 (citing Estelle, 429 U.S. at 104). “Prison officials are
 7 deliberately indifferent to a prisoner’s serious medical needs when they ‘deny, delay,
 8 or intentionally interfere with medical treatment.” Lopez, 203 F.3d at 1131 (citing
 9 Estelle, 429 U.S. at 104). “A prison official is deliberately indifferent to a substantial
10 risk of serious harm to inmates if that official is subjectively aware of the risk and does
11 nothing to prevent the resulting harm.” Jeffers, 267 F.3d at 913 (citing Farmer, 511
12 U.S. at 828-29). “Deliberate indifference requires that an official both be aware of facts
13 from which the inference could be drawn that a substantial risk of serious harm exists,
14 and he must also draw the inference.” Id.
15                1. Defendant Ayala
16         The SAC alleges that doctors released Bernard Victorianne from Medical so he
17 could be placed in solitary confinement. (ECF No. 82 ¶¶42-43). The SAC alleges that
18 Defendant Ayala decided to place Bernard Victorianne in administrative segregation
19 and he was subsequently transported to an administrative segregation cell on a gurney.
20 Id. ¶ 44. The SAC alleges that “Defendants knew that Bernard Victorianne had
21 ingested methamphetamine and that he was to receive ‘prompt medical attention’ per
22 Alvarado Hospital’s discharge records if he exhibited agitation, anxiety, seizure, excess
23 drowsiness or inability to be awakened.” Id. ¶ 122. The SAC alleges that “despite
24 obvious signs of overdose, Defendant Ayala approved Bernard’s placement in solitary
25 confinement.” Id. ¶ 123. The SAC alleges sufficient facts to infer that Defendant Ayala
26 acted with deliberate indifference to Bernard Victorianne’s medical needs when he
27 approved Bernard Victorianne’s placement in solitary confinement with knowledge of
28 Bernard Victorianne’s serious medical risks.

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                                        Exhibit 1 - 35
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 1                2. Defendants Flores, Lien, and Russell
 2         The SAC alleges that “Defendants knew that Bernard Victorianne had ingested
 3 methamphetamine and that he was to receive ‘prompt medical attention’ per Alvarado
 4 Hospital’s discharge records if he exhibited agitation, anxiety, seizure, excess
 5 drowsiness or inability to be awakened.” Id. ¶ 122. The SAC alleges that Defendants
 6 Flores, Lien, and Russell were deliberately indifferent to Bernard Victorianne’s serious
 7 medical needs because they each inadequately conducted “Soft Count” checks of
 8 Bernard Victorianne. The SAC alleges that “Soft Count” policy requires deputies to
 9 verify an inmates well-being through verbal or physical acknowledgment from the
10 inmate. Id. ¶ 55. The SAC alleges that Defendants Flores, Lien, and Russell each
11 conducted “Soft Counts” that violated policy because they walked past Bernard
12 Victorianne’s cell without looking in or looked in Bernard Victorianne’s cell for several
13 seconds before walking away. Id. ¶¶ 45-49, 50, 52-53. The SAC alleges that Bernard
14 Victorianne was found dead in his cell the following morning. Id. ¶ 61. The SAC
15 alleges sufficient facts to infer that Defendants Flores, Lien, and Russell had knowledge
16 of Bernard Victorianne’s serious medical needs and delayed or interfered with Bernard
17 Victorianne’s medical treatment by failing to adequately verify his well-being.
18             3. Defendant Almazan
19         The SAC alleges that “Defendants knew that Bernard Victorianne had ingested
20 methamphetamine and that he was to receive ‘prompt medical attention’ per Alvarado
21 Hospital’s discharge records if he exhibited agitation, anxiety, seizure, excess
22 drowsiness or inability to be awakened.” Id. ¶ 122. The SAC alleges that during
23 Defendant Almazan’s “Soft Count” check of Bernard Victorianne’s cell, Defendant
24 Almazan walked past the cell door “without breaking stride” and “glanced into
25 Bernard’s cell as he walked by.” Id. ¶ 54. The SAC alleges that Bernard Victorianne
26 was found dead in his cell the following morning. Id. ¶ 61. The SAC alleges sufficient
27 facts to infer that Defendant Almazan had knowledge of Bernard Victorianne’s serious
28 medical needs and delayed or interfered with Bernard Victorianne’s medical treatment

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 1 by failing to adequately conduct checks on his well-being.
 2               4. Defendants Garcia and Gallegos
 3         The SAC alleges that during a “Hard Count” check on Bernard Victorianne’s
 4 cell, Defendant Garcia “walk[ed] past Bernard’s cell without stopping; without breaking
 5 stride; taking approximately 1 second to walk past the cell door while glancing toward
 6 the windowed door of the cell.” Id. ¶ 56. The SAC alleges that “during a ‘Hard Count,’
 7 deputies are to use a Bar Code Reader to scan each inmate; confirm the inmate’s name,
 8 booking number and wristband photo. The deputy should check the inmate’s overall
 9 condition . . . .” Id. ¶ 57. The SAC alleges that Defendant Garcia entered Bernard
10 Victorianne’s cell with Defendant Gallegos to serve a meal. Id. ¶ 58. The SAC alleges
11 that “Gallegos [told] Garcia, ‘The guy’s not moving.’ Garcia responded, ‘Okay, he
12 twitched’ at which point Garcia left the tray of food, closed the door and left.” Id. The
13 SAC alleges that Defendants Garcia and Gallegos “made no attempts to check Bernard
14 Victorianne’s vital signs or pulse” and never alerted medical staff. Id. ¶¶ 59-60. The
15 SAC alleges that three hours after Defendants Garcia and Gallegos left Bernard
16 Victorianne’s cell, deputies found Bernard Victorianne dead. Id. ¶ 61. The SAC
17 alleges sufficient facts to infer that Defendants Garcia and Gallegos had knowledge of
18 Bernard Victorianne’s serious medical needs and delayed, denied, or obstructed medical
19 treatment.
20         The motion to dismiss the claim for deliberate indifference to serious medical
21 needs against Defendants Ayala, Flores, Lien, Russell, Almazan, Garcia, and Gallegos
22 is denied.
23         B. Wrongful Death Under 42 U.S.C. § 1983
24         Defendants contend that Plaintiffs’ wrongful death claim under 42 U.S.C. § 1983
25 is duplicative of the claim for deliberate indifference to serious medical needs. Plaintiff
26 does not respond to this contention.
27         A valid claim under 42 U.S.C. § 1983 must allege a violation of a right secured
28 by the Constitution and the laws of the United States. West v. Atkins, 487 U.S. 42, 48

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 1 (1988). Plaintiff Estate of Bernard Victorianne alleges claims of deliberate indifference
 2 to serious medical needs and wrongful death under 42 U.S.C. § 1983, premised upon
 3 alleged violations of Bernard Victorianne’s right to be free from cruel and unusual
 4 punishment and loss of life without due process. The claim for wrongful death pursuant
 5 to § 1983 relies on allegations that the Defendants “failed to render aid or transport
 6 [Bernard Victorianne] to the hospital.” (ECF No. 82 at 26). Plaintiffs do not allege
 7 facts to support the wrongful death claim under § 1983 that distinguish it as a separate
 8 cause of action from the claim for deliberate indifference to serious medical needs. The
 9 motion to dismiss the claim by the Estate of Bernard Victorianne against Defendants
10 Almazan, Flores, Lien, Russell, Garcia, and Gallegos for wrongful death pursuant to 42
11 U.S.C. § 1983 is granted.
12       C. Right of Association Under 42 U.S.C. § 1983
13         Defendants contend that the claims for loss of right of association pursuant to 42
14 U.S.C. § 1983 should be dismissed because “[n]o facts are alleged that any of the
15 detention deputies knew Victorianne had consumed methamphetamine or consumed the
16 drug in toxic quantities, and disregarded the risk attendant to that condition so as to
17 have delayed, denied or obstructed Victorianne’s access to medical care and thus caused
18 his death.” (ECF No. 116-1 at 4). Plaintiffs contend that they have sufficiently alleged
19 “that Defendants were aware of Bernard’s serious medical needs and that, despite their
20 knowledge, they consciously neglected over a considerable period of time to give him
21 necessary medical treatment.” (ECF No. 130 at 9). Plaintiffs contend that “Defendants,
22 all of whom saw Bernard, had an opportunity to think about the matter, i.e. deliberate.”
23 Id.
24         “Parents and children may assert Fourteenth Amendment substantive due process
25 claims if they are deprived of their liberty interest in the companionship and society of
26 their child or parent through official conduct.” Lemire v. California Dept. Of
27 Corrections and Rehabilitation, 726 F.3d 1062, 1075 (9th Cir. 2013). “Only official
28 conduct that shocks the conscience is cognizable as a due process violation.” Id.

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 1 (citations and internal quotation marks omitted). “A prison official’s deliberately
 2 indifferent conduct will generally shock the conscience so as long as the prison official
 3 had time to deliberate before acting or failing to act in a deliberately indifferent
 4 manner.” Id.
 5         The SAC alleges sufficient facts to infer that Defendant deputies knew that
 6 Bernard Victorianne had consumed methamphetamine and by disregarding the risk,
 7 delayed, denied, or obstructed Victorianne’s access to medical care and thus caused his
 8 death. The SAC alleges sufficient facts to infer that each of the Defendant deputies had
 9 time to deliberate before acting or failing to act. See Lemire, 726 F.3d at 1075. The
10 motion to dismiss the claims for violation of the right of association pursuant to 42
11 U.S.C. § 1983 against Defendants Almazan, Flores, Lien, Russell, Garcia, and Gallegos
12 is denied.
13        D. Tort Claims for Negligence and Wrongful Death (CCP 377.60)
14         The Court has determined that the SAC has alleged sufficient facts to support a
15 finding that either (1) Plaintiffs claim was timely filed under the CTCA, or (2)
16 equitable estoppel prevents Defendants from raising Plaintiffs’ failure to timely file a
17 claim because the delay was caused by Defendants’ own misconduct.
18       Defendants contend that these claims should be dismissed because “there is no
19 factual allegation that the cell checks were the proximate cause of Victorianne’s death.”
20 (ECF No. 116-1 at 7-8). Plaintiffs contend that the facts alleged in the SAC
21 demonstrate proximate cause.
22      The SAC alleges that Defendant deputies had a duty to verify the well-being of
23 Bernard Victorianne by obtaining verbal or physical acknowledgment by the inmate
24 while conducting “Soft Counts” and “Hard Counts.” The SAC alleges that this duty
25 was breached by the Defendants’ cursory glances into Bernard Victorianne’s cell
26 without verifying his well-being. The SAC alleges that Defendant Ayala placed
27 Bernard Victorianne in administrative segregation instead of transporting him to the
28 hospital. The SAC alleges that “as a direct and proximate result of all Defendants’

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 1 conduct, Bernard Victorianne experienced physical pain, severe emotional distress, and
 2 mental anguish for days, as well as loss of life.” (ECF No. 82 at 148). The SAC alleges
 3 that Defendants failed to render medical care or transport Bernard Victorianne to the
 4 hospital. Id. ¶¶ 282-283. The SAC alleges sufficient facts to support an inference that
 5 Defendants were negligent and that Defendants’ negligence was the proximate cause
 6 of Bernard Victorianne’s death. The motion to dismiss Plaintiff’s claims for negligence
 7 and wrongful death (CCP 377.60 et seq.) against Defendants Ayala, Flores, Lien,
 8 Russell, Almazan, Garcia, and Gallegos is denied.
 9         E. Motion to Strike References to the Estate of Bernard Victorianne
10         The Court has determined that references to the “Estate of Bernard Victorianne”
11 in the SAC do not meet the standard for striking material from a pleading under Federal
12 Rule of Civil Procedure 12(f). The motion to strike references to the “Estate of Bernard
13 Victorianne” is denied.
14       F. Conclusion
15         The motion to dismiss the claim of deliberate indifference to serious medical
16 needs against Defendants Ayala, Flores, Lien, Russell, Almazan, Garcia, and Gallegos
17 is denied. The motion to dismiss the claim by the Estate of Bernard Victorianne agianst
18 Defendants Almazan, Flores, Lien, Russell, Garcia, and Gallegos for wrongful death
19 pursuant to 42 U.S.C. § 1983 is granted. The motion to dismiss the claims for violation
20 of the right of association pursuant to 42 U.S.C. § 1983 against Defendants Almazan,
21 Flores, Lien, Russell, Garcia, and Gallegos is denied. The motion to dismiss Plaintiff’s
22 claims for negligence and wrongful death (CCP 377.60 et seq.) against Defendants
23 Ayala, Flores, Lien, Russell, Almazan, Garcia, and Gallegos is denied. The motion to
24 strike references to the “Estate of Bernard Victorianne” is denied.
25 VIII. Defendants Bell, Longno, and Roque’s Motion to Dismiss (ECF No. 118),
26 Defendant Sivilay’s Motion to Dismiss (ECF No. 6), Defendant Nuhic’s Motion to
27 Dismiss (ECF No. 101), Defendant Richter’s Motion to Dismiss (ECF No. 122), and
28 Defendant Huang’s Motion to Dismiss (ECF Nos. 125, 126)

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                                       Exhibit 1 - 40
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 1         Plaintiffs allege the following causes of action against Defendant nurses, Longno,
 2 Bell, Roque, and Sivilay and Defendant doctors Nuhic, Richter, and Huang: (1)
 3 Deliberate Indifference to Serious Medical Needs under 42 U.S.C. § 1983; (2)
 4 Wrongful Death under 42 U.S.C. § 1983; (3) Right of Association under 42 U.S.C. §
 5 1983; (8) Wrongful Death, CCP 377.60; and (9) Negligence. Plaintiffs also allege a
 6 claim against Defendant Nuhic for violation of California Civil Code § 521.1.
 7       A. Deliberate Indifference to Serious Medical Needs
 8         Defendant nurses contend that “there are no facts alleged as to how each
 9 [Defendant nurse] could possibly know that [Bernard Victorianne] was in a week-long
10 dying process when there are no facts stated that each knew what drug, if any, he had
11 consumed, or its quantity or its rate of toxic metabolization such that they would know
12 he would die a week later, or that the physicians in attendance were not delivering the
13 appropriate care to Victorianne.” (ECF No. 106-1 at 5; ECF No. 118-1 at 6).
14 Defendant nurses contend that “there are no factual allegations regarding a causal
15 connection between [the Defendant nurse’s] observations and Victorianne’s death.” Id.
16 Plaintiffs contend that the SAC alleges sufficient facts to support a finding that
17 Defendant nurses Bell, Longno, Roque, and Sivilay denied, delayed, and/or
18 intentionally interfered with Bernard Victorianne’s medical treatment.
19         “Prison officials are deliberately indifferent to a prisoner’s serious medical needs
20 when they ‘deny, delay, or intentionally interfere with medical treatment.” Lopez, 203
21 F.3d at 1131 (citing Estelle, 429 U.S. at 104). “A prison official is deliberately
22 indifferent to a substantial risk of serious harm to inmates if that official is subjectively
23 aware of the risk and does nothing to prevent the resulting harm.” Jeffers, 267 F.3d at
24 913 (citing Farmer, 511 U.S. at 828-29). “[M]ere negligence in diagnosing or treating
25 a medical condition, without more, does not violate a prisoner’s Eight Amendment
26 rights.” McGuckin v. Smith, 974 F.2d 1050, 1059 (9th Cir. 1992) (rev’d on other
27 grounds, WMX Tech., Inc. v. Miller, 104 F.3d 1133, 1136 (9th Cir. 1997)). “Medical
28 malpractice does not become a constitutional violation merely because the victim is a

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 1 prisoner. In order to state a cognizable claim, a prisoner must allege acts or omissions
 2 sufficiently harmful to evidence deliberate indifference to serious medical needs.” Id.
 3         The SAC alleges that
 4         The discharge document from Alvarado Hospital, which became a part of
           the Central Jail record for Bernard Victorianne, advised: ‘GET PROMPT
 5         MEDICAL ATTENTION if any of the following occur: agitation, anxiety,
           unable to sleep; unintended weight loss; seizure; chest pain or shortness
 6         of breath; unexplained fever; excess drowsiness or inability to be
           awakened; slow breathing; shortness of breath; redness, swelling or
 7         tenderness.
 8 (ECF No. 82 ¶ 21). The SAC alleges that “On September 13, 2012, . . . Bernard was
 9 examined by medical staff. He told the staff that he had come from the hospital after
10 ingesting a baggie of methamphetamine.” Id. ¶ 22.
11              1. Defendant Longno
12         The SAC alleges that “Defendant Aileen Longno noted in Bernard’s medical
13 records that he had ingested meth and noted that Bernard had alteration in thought
14 process/content, ineffective health maintenance, risk for imbalance fluid volume.” Id.
15 ¶ 23. The SAC alleges that Defendant Longno monitored Bernard in a “Sobering Cell”
16 on September 13, 2012. Id. ¶ 25. The SAC alleges that “[i]t was noted by the
17 defendant nurses that Bernard Victorianne was intoxicated for drug use and that he
18 admitted being under the influence of street drugs.” Id. The SAC alleges that
19 Defendant Longno noted in Bernard Victorianne’s medical chart that his bood pressure
20 and pulse were “abnormally high vital signs.” Id. The SAC alleges that “[i]t was noted
21 that he was ‘standing by the door, talking, mumbling, appeared to be responding to
22 internal stimuli . . .’ ‘occasionally yelling’ and was assessed to have a ‘potential for
23 injury.’” Id. ¶ 26.
24        The SAC alleges that Defendant Longno was aware of the serious risks to
25 Bernard Victorianne’s health caused by the baggie of meth he ingested and alleges that
26 Defendant Longno observed Bernard Victorianne exhibiting agitated and anxious
27 behaviors. Bernard Victorianne’s jail record noted that if Bernard Victorianne exhibited
28 these behaviors, prompt medical attention was necessary. The facts alleged in the SAC

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                                       Exhibit 1 - 42
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 1 are sufficient to support an inference that Defendant Longno interfered with, delayed,
 2 or denied Bernard Victorianne’s access to medical treatment. The motion to dismiss
 3 Plaintiff’s claim against Defendant Longno for deliberate indifference to serious
 4 medical needs is denied.
 5                2. Defendant Sivilay
 6         The SAC alleges that Defendant Sivilay monitored Bernard in a “Sobering Cell”
 7 on September 13, 2012. Id. ¶ 25. The SAC alleges that Defendant Sivilay took Bernard
 8 Victorianne’s vitals on September 13, 2012 and his pulse and blood pressure were
 9 abnormally high. Id. ¶ 27. The SAC alleges that “Defendant nurse Sivilay cleared
10 Bernard Victorianne to go to mainline” despite Bernard Victorianne’s “ abnormally
11 high vital signs, . . . auditory hallucinations, . . . an assessment of having an alteration
12 in thought process, . . . an assessment of having a ‘potentional for injury’ and with notes
13 in Bernard Victorianne’s medical record that he was standing by the door of the
14 “Sobering Cell”, talking, mumbling, appeared to be responding to internal stimuli, and
15 occasionally yelling . . . .” Id. ¶¶26-27.
16       The SAC alleges that all medical staff were aware of the serious risks to Bernard
17 Victorianne’s health caused by the baggie of meth he ingested. The facts alleged in the
18 SAC are sufficient to support an inference that Defendant Sivilay either observed
19 Bernard Victorianne exhibiting agitated and anxious behaviors or was aware of these
20 behaviors upon reviewing his medical records. Bernard Victorianne’s jail record noted
21 that if Bernard Victorianne exhibited these behaviors, prompt medical attention was
22 necessary. The facts alleged in the SAC are sufficient to support an inference that
23 Defendant Sivilay interfered with, delayed, or denied Bernard Victorianne’s access to
24 medical treatment. The motion to dismiss Plaintiff’s claim against Defendant Sivilay
25 for deliberate indifference to serious medical needs is denied.
26               3. Defendant Roque
27         The SAC alleges that “[o]n September 14, 2012, Defendant Corazon Roque noted
28 in Bernard Victorianne’s medical chart, specifically on a standardized Psychiatric

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 1 Outpatient Evaluation Form, that he had a history of ‘Illicit Drug Use’ and hand wrote
 2 ‘Meth cleared from sober(ing) cell 9/13/12.” Id. ¶ 29. The SAC alleges that Defendant
 3 Roque wrote, “Brought here from 4th floor for psych eval, alert and oriented 3x, in no
 4 acute distress, ambulatory, denies psych problem . . . per floor deputy I/P (inmate
 5 patient) exhibiting bizarre behavior, agitated, irritable with difficulty following
 6 directions.” Id. The SAC alleges that “[o]n the standardized form Defendant Roque
 7 placed circles around the words ‘Angry,’ ‘Irritable,’ and ‘Paranoia.’” Id. The SAC
 8 alleges that the psychiatric evaluation form indicated that Bernard Victorianne had no
 9 history of psychological issues. Id. ¶ 30. The SAC alleges that “[o]n September 18 .
10 . . Defendant nurse Roque noted that Bernard was hyper-verbal, talking nonsense and
11 appeared to be hallucinating.” Id. ¶¶ 36, 38. Bernard Victorianne died on the morning
12 of September 19, 2012. Id. ¶ 61.
13         The SAC alleges that all medical staff were aware of the serious risks to Bernard
14 Victorianne’s health caused by the baggie of meth he ingested. The facts alleged in the
15 SAC are sufficient to support an inference that Defendant Roque either observed
16 Bernard Victorianne exhibiting agitated and anxious behaviors and signs of
17 methamphetamine overdose or was aware of these symptoms upon reviewing his
18 medical records. Bernard Victorianne’s jail record noted that if Bernard Victorianne
19 exhibited these behaviors, prompt medical attention was necessary. The facts alleged
20 in the SAC are sufficient to support an inference that Defendant Roque interfered with,
21 delayed, or denied Bernard Victorianne’s access to medical treatment. The motion to
22 dismiss Plaintiffs’ claim against Defendant Roque for deliberate indifference to serious
23 medical needs is denied.
24                4. Defendant Bell
25         The SAC alleges that on September 18, 2012, “Bernard told [Defendant Bell] that
26 he was ‘on fire; he was burning and something was burning his insides.’ Bernard kept
27 asking Defendant Bell for water. Bernard reached to his stomach several times and
28 stated to Defendant Bell, ‘Pull it out - get it out of me.’” Id. ¶ 40. The SAC alleges that

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                                        Exhibit 1 - 44
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 1 “Defendants Huang and Bell gave Bernard Haldol, Ativan, and Benadryl. Defendants
 2 Huang and Bell took no further action.” Id. ¶ 41. Bernard Victorianne died the
 3 following morning. Id. ¶ 61.
 4       The SAC alleges that all medical staff were aware of the serious risks to Bernard
 5 Victorianne’s health caused by the baggie of meth he ingested. The facts alleged in the
 6 SAC are sufficient to support a finding that Defendant Bell either observed Bernard
 7 Victorianne exhibiting agitated and anxious behaviors and signs of methamphetamine
 8 overdose or was aware of these symptoms upon reviewing his medical records. Bernard
 9 Victorianne’s jail record noted that if Bernard Victorianne exhibited these behaviors,
10 prompt medical attention was necessary. The facts alleged in the SAC are sufficient to
11 support an inference that Defendant Bell interfered with, delayed, or denied Bernard
12 Victorianne’s access to appropriate medical treatment. The motion to dismiss
13 Plaintiffs’ claim against Defendant Bell for deliberate indifference to serious medical
14 needs is denied.
15               5. Defendant Richter
16         Defendant Richter contends that “Plaintiffs have failed to allege facts sufficient
17 to establish that there was any harm caused by Dr. Richter’s treatment of Bernard” or
18 that “Dr. Richter purposefully failed to respond to Bernard’s medical needs.” (ECF
19 No. 122-1 at 8-9). Defendant Richter contends that Bernard Victorianne was evaluated
20 by other medical professions after he was examined by Defendant Richter, therefore no
21 causal relationship has been established between Defendant Richter’s care and Bernard
22 Victorianne’s death. Id. at 9. Defendant Richter contends that he was called to treat
23 Bernard Victorianne’s psychiatric condition, not medical condition, on September 16,
24 2012, therefore had no reason to suspect that a medical basis for Bernard Victorianne’s
25 symptoms, such as methamphetamine overdose, had been ruled out. (ECF No. 133 at
26 3).
27         Plaintiffs contend that Defendant Richter was aware, based on Bernard
28 Victorianne’s medical records, of the obvious and substantial risk of harm to Bernard

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                                       Exhibit 1 - 45
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 1 Victorianne. (ECF No. 132 at 6). Plaintiffs contend that Defendant Richter failed to
 2 treat Bernard Victorianne for ingesting methamphetamine or transfer him to a hospital
 3 and, as a result, Bernard Victorianne died. Id.
 4       The SAC alleges
 5         On September 16, 2012, at 10:39 a.m., approximately 4 days after Bernard
           Victorianne ingested methamphetamine, Defendant Richter visited
 6         Bernard’s cell to conduct a psychological evaluation. Defendant Richter
           noted that Bernard Victorianne was “responding to internal stimuli, while
 7         aggressively talking with the wall.” Richter noted that the room appeared
           highly disorganized. Richter noted that an attempt to speak to Bernard
 8         Victorianne should be made the next day. Defendant Richter noted “f/u
           with this patient tomorrow and likely consider transfer.” Defendant
 9         Richter took no further action.
10 (ECF No. 82 ¶ 34). The SAC alleges that all medical staff were aware of the serious
11 risks to Bernard Victorianne’s health caused by the baggie of meth he ingested. The
12 facts alleged in the SAC are sufficient to support an inference that Defendant Richter
13 observed Bernard Victorianne exhibiting agitated and anxious behaviors. Bernard
14 Victorianne’s jail record noted that if Bernard Victorianne exhibited these behaviors,
15 prompt medical attention was necessary. The facts alleged in the SAC are sufficient to
16 support an inference that Defendant Richter interfered with, delayed, or denied Bernard
17 Victorianne’s access to medical treatment. The motion to dismiss Plaintiffs’ claim
18 against Defendant Richter for deliberate indifference to serious medical needs is denied.
19             6. Defendant Nuhic
20         Defendant Nuhic contends that “Dr. Nuhic evaluated, diagnosed and prescribed
21 medication consistent with his diagnosis to Bernard.” (ECF No. 101-1 at 10).
22 Defendant Nuhic contends that Plaintiffs do not allege that Defendant Nuhic was aware
23 that Bernard Victorianne had ingested methamphetamine, that Defendant Nuhic was
24 deliberately indifferent to Bernard Victorianne, or that Defendant Nuhic’s treatment
25 caused harm to Bernard Victorianne. Id.
26       Plaintiffs contend that “[r]ather than reading Bernard Victorianne’s chart and
27 report that Bernard ingested drugs and that Bernard was to return to the hospital
28 immediately if he exhibited symptoms of overdose, Defendant Nuhic prescribed three

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                                       Exhibit 1 - 46
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 1 powerful drugs that are used for three separate mental disorders . . . .” (ECF No. 111
 2 at 14). Plaintiffs contend that “Defendant Nuhic treated Bernard Victorianne for
 3 allergies, anxiety, depression, and schizophremia. The fact that Defendant Nuhic
 4 drugged Bernard Victorianne for conditions Bernard did not suffer from evidences
 5 deliberate indifference.” Id.
 6       The SAC alleges
 7         On September 17, 2012, at 4:40 p.m., approximately 5 days after Bernard
           Victorianne ingested methamphetamine, Defendant Nuhic visited
 8         Bernard’s cell for a psychological evaluation. Nuhic observed that
           Bernard appeared to be ‘internally preoccupied’ talking to himself while
 9         lying on the cell floor. Defendant Nuhic prescribed Ativan, Benadryl, and
           Haldol. Defendant Nuhic scheduled a follow up in 2-3 days. Nuhic took
10         no further action.
11 Id. ¶ 35. Bernard Victorianne died on the morning of September 19, 2012. Id. ¶ 61.
12        The SAC alleges that all medical staff were aware of the serious risks to Bernard
13 Victorianne’s health caused by the baggie of meth he ingested. The facts alleged in the
14 SAC are sufficient to support an inference that Defendant Nuhic observed Bernard
15 Victorianne exhibiting agitated and anxious behaviors or was aware of these behaviors
16 upon reviewing his medical records. Bernard Victorianne’s jail record noted that if
17 Bernard Victorianne exhibited these behaviors, prompt medical attention was necessary.
18 The facts alleged in the SAC are sufficient to support an inference that Defendant Nuhic
19 interfered with, delayed, or denied Bernard Victorianne’s access to medical treatment.
20 The motion to dismiss Plaintiffs’ claim against Defendant Nuhic for deliberate
21 indifference to serious medical needs is denied.
22              7. Defendant Huang
23         Defendant Huang contends that “[t]here are no allegations that Dr. Huang came
24 to the conclusion that Bernard was suffering from methamphetamine toxicity.” (ECF
25 No. 125-1 at 10). Defendant Huang contends that because he did not conclude that
26 Bernard was suffering from a methamphetamine overdose, Plaintiffs cannot establish
27 that Defendant Huang was deliberately indifferent to Bernard Victorianne’s medical
28 needs and cannot establish causation between Defendant Huang’s treatment and

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                                       Exhibit 1 - 47
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 1 Bernard Victorianne’s death. Id. at 11.
 2       Plaintiffs contend that “Plaintiffs have alleged the obviousness of the risk through
 3 extensive medical documentation of Bernard’s ingestion of methamphetamine.” (ECF
 4 No. 139 at 7). Plaintiffs contend that “Defendant Huang chose to ignore the warnings
 5 [in Bernard Victorianne’s medical chart]; prescribe unnecessary medications; and sent
 6 Bernard on a stretcher to segregation where no one would medically monitor him.” Id.
 7         The SAC alleges that on September 18, 2012, Defendant Huang examined
 8 Bernard Victorianne after he was transferred to Medical because he was in medical
 9 distress. (ECF No. 82 ¶¶ 36, 39). The SAC alleges that “Defendant Huang reviewed
10 Bernard’s medical records and determined that his behavior might be consistent with
11 seizures. Huang noted that Bernard was suffering from the effects of stimulant or
12 hallucinogen; possibly bath salts. Huang noted that Bernard was scared and agitated.”
13 Id. ¶ 39. The SAC alleges that “Bernard told Defendants Huang and Bell that he was
14 ‘on fire . . . something was burning his insides.’” Id. ¶ 40. The SAC alleges that
15 “Defendants Huang and Bell gave Bernard Haldol, Ativan, and Benadryl. Defendants
16 Huang and Bell took no further action.” Id. ¶ 41. The SAC alleges that Defendant
17 Huang released Bernard Victorianne from Medical so he could be placed in solitary
18 confinement. Id. ¶ 42. Bernard Victorianne died the following morning. Id. ¶ 61.
19       The SAC alleges that all medical staff were aware of the serious risks to Bernard
20 Victorianne’s health caused by the baggie of meth he ingested. The facts alleged in the
21 SAC are sufficient to support an inference that Defendant Huang either observed
22 Bernard Victorianne exhibiting agitated and anxious behaviors and signs of
23 methamphetamine overdose or was aware of these symptoms upon reviewing his
24 medical records. Bernard Victorianne’s jail record noted that if Bernard Victorianne
25 exhibited these behaviors, prompt medical attention was necessary. The facts alleged
26 in the SAC are sufficient to support an inference that Defendant Huang interfered with,
27 delayed, or denied Bernard Victorianne’s access to medical treatment. The motion to
28 dismiss Plaintiffs’ claim against Defendant Huang for deliberate indifference to serious

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                                        Exhibit 1 - 48
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 1 medical needs is denied.
 2      B. Wrongful Death Under 42 U.S.C. § 1983
 3         Plaintiff Estate of Bernard Victorianne’s claim for wrongful death pursuant to 42
 4 U.S.C. § 1983 is based on alleged violations of Bernard Victorianne’s rights to be free
 5 from cruel and unusual punishment and loss of life without due process as a result of
 6 Defendants’ failure to render appropriate medical care. The Court has determined that
 7 Plaintiffs do not allege facts to support the wrongful death claim under § 1983 as a
 8 separate cause of action from the claim for deliberate indifference to serious medical
 9 needs. The motion to dismiss Plaintiff’s claim for wrongful death pursuant to 42 U.S.C.
10 § 1983 against Defendants Longno, Sivilay, Roque, Bell, Richter, Nuhic, and Huang
11 is granted.
12         C. Right of Association Under 42 U.S.C § 1983
13         The Court has determined that the SAC alleges sufficient facts to infer that the
14 Defendant nurses and doctors knew that Victorianne had consumed methamphetamine
15 and by disregarding the risk, delayed, denied, or obstructed Victorianne’s access to
16 medical care and thus caused his death. The SAC alleges sufficient facts to infer that
17 each of the Defendant nurses and doctors had time to deliberate before acting or failing
18 to act in a deliberately indifferent manner. See Lemire, 726 F.3d at 1075 (“Parents and
19 children may assert Fourteenth Amendment substantive due process claims if they are
20 deprived of their liberty interest in the companionship and society of their child or
21 parent through official conduct.”). The motion to dismiss Plaintiff’s claim for violation
22 of the right of association pursuant to 42 U.S.C. § 1983 is denied.
23        D. Tort Claims for Negligence and Wrongful Death (CCP 377.60)
24         The Court has determined that the SAC has alleged sufficient facts to support a
25 finding that either (1) Plaintiffs claim was timely filed under the CTCA, or (2)
26 equitable estoppel prevents Defendants from raising Plaintiffs’ failure to timely file a
27 claim because the delay was caused by Defendants’ own misconduct.
28       Defendants contend that the allegations in the SAC are insufficient to state a


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                                       Exhibit 1 - 49
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 1 claim against them for wrongful death or negligence because Plaintiffs fail to allege that
 2 Defendants’ conduct constituted a failure to summon or render care that was the
 3 proximate cause of Bernard Victorianne’s death. Defendants contend that the SAC does
 4 not allege any negligent action or omission on behalf of the Defendants. Defendants
 5 contend that the SAC does not allege facts from which an inference can be drawn that
 6 the Defendants’ actions were causally related to Bernard Victorianne’s death. Plaintiffs
 7 contend that Defendants’ negligent actions in treating or delaying treatment of Bernard
 8 Victorianne are concurring causes of the injury and are therefore regarded as the legal
 9 cause of the injury.
10       “‘Professional negligence’ means a negligent act or omission to act by a health
11 care provider in the rendering of professional services, where the act or omission is the
12 proximate cause of a personal injury or wrongful death, provided that such services are
13 within the scope of services for which the provider is licensed . . . .” Cal. C.C. P. §
14 340.5. The elements of a statutory claim for wrongful death under California Code of
15 Civil Procedure § 377.60 include “(1) a wrongful act or neglect on the part of one or
16 more persons that (2) causes (3) the death of another person . . . .” Norgart, 981 P.2d
17 at 83.
18          The SAC alleges that Defendants had a duty to act with ordinary care and
19 prudence so as not to cause harm or injury to Bernard Victorianne. (ECF No. 81 ¶ 281).
20 The SAC alleges that Defendants Longno, Sivilay, Roque, Bell, Richter, Nuhic, and
21 Huang knew or should have known that Bernard Victorianne exhibited symptoms of a
22 methamphetamine overdose and failed to provide appropriate medical care or transfer
23 Bernard Victorianne to a hospital. Id. ¶¶282-283. The SAC alleges that Defendants’
24 failure to provide or summon medical care was the proximate cause of Bernard
25 Victorianne’s suffering and death. Id. ¶¶ 300-301. The SAC alleges that Defendants’
26 negligent conduct was the proximate cause of Plaintiffs Zelda Victorianne and Bernard
27 Victorianne III’s emotional suffering and loss of their son. Id. ¶ 302. The SAC alleges
28 sufficient facts to support an inference that Defendants Longno, Sivilay, Roque, Bell,

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                                        Exhibit 1 - 50
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 1 Richter, Nuhic, and Huang were negligent and that Defendants’ negligence was the
 2 proximate cause of Plaintiffs’ injuries. The motions to dismiss Plaintiff’s claims of
 3 negligence and wrongful death (CCP 377.60) against Defendants Longno, Sivilay,
 4 Roque, Bell, Richter, Nuhic, and Huang are denied.
 5         C. Motion to Strike References to the Estate of Bernard Victorianne
 6         Defendants Bell, Longno, Roque, and Sivilay move the Court to strike references
 7 in the SAC to the “Estate of Bernard Victorianne.” The Court has determined that
 8 references to the “Estate of Bernard Victorianne” in the SAC do not meet the standard
 9 for striking material from a pleading under Federal Rule of Civil Procedure 12(f). The
10 motion to strike references to the “Estate of Bernard Victorianne” is denied.
11         D. Conclusion
12         The motion to dismiss the claim by the Estate of Bernard Victorianne for
13 deliberate indifference to serious medical needs against Defendants Bell, Longno,
14 Roque, Sivilay, Richter, Nuhic, and Huang is denied. The motion to dismiss the claim
15 by the Estate of Bernard Victorianne for wrongful death pursuant to 42 U.S.C. § 1983
16 against Defendants Longno, Sivilay, Roque, Bell, Richter, Nuhic, and Huang is granted.
17 The motion to dismiss the claim by Plaintiffs Zelda Victorianne and Bernard
18 Victorianne for violation of the right of association against Defendants Bell, Longno,
19 Roque, Sivilay, Richter, Nuhic, and Huang is denied. The motions to dismiss Plaintiff’s
20 claims of negligence and wrongful death (CCP 377.60 et seq.) against Defendants
21 Longno, Sivilay, Roque, Bell, Richter, Nuhic, and Huang are denied. The motion to
22 strike references to the “Estate of Bernard Victorianne” is denied.
23 IX. Conclusion
24      IT IS HEREBY ORDERED that the Motion to Dismiss and to Strike Parts of the
25 Second Amended Complaint (ECF No. 84) filed by Defendants William Gore, Leslee
26 Hall, and the County of San Diego is granted as to Plaintiffs’ claims against Defendants
27 Gore, Hall, and the County of San Diego for negligent hiring, training, and supervision
28 and negligent investigation, is granted as to punitive damages against the County of San

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                                       Exhibit 1 - 51
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 1 Diego and is otherwise denied.
 2       IT IS FURTHER ORDERED that the Motion to Dismiss Plaintiffs’ Second
 3 Amended Complaint (ECF No. 101) filed by Defendant Zvjezdan Nuhic is granted as
 4 to the Estate of Bernard Victorianne’s claim for wrongful death under 42 U.S.C. § 1983
 5 and is otherwise denied.
 6        IT IS FURTHER ORDERED that the Motion to Dismiss and to Strike Parts of
 7 the Second Amended Complaint (ECF No. 102) filed by Defendant Earl Goldstein,
 8 M.D. is granted as to Zelda Victorianne and Bernard Victorianne III’s claims of failure
 9 to investigate and otherwise denied.
10        IT IS FURTHER ORDERED that the Motion to Dismiss and to Strike Parts of
11 the Second Amended Complaint (ECF No. 106) filed by Defendant Rebecca Sivilay is
12 granted as to the Estate of Bernard Victorianne’s claim for wrongful death under 42
13 U.S.C. § 1983 and is otherwise denied.
14       IT IS FURTHER ORDERED that the Motion to Dismiss and to Strike Parts of
15 the Second Amended Complaint (ECF No. 107) filed by Defendant Patrick Gardner is
16 granted as to the Estate of Bernard Victorianne’s claim for failure to investigate, is
17 granted as to Plaintiff’s negligence claim, and is otherwise denied.
18       IT IS FURTHER ORDERED that the Motion to Dismiss and to Strike Parts of
19 the Second Amended Complaint (ECF No. 116) filed by Defendants Guynemer
20 Almazan, Arthur Ayala, Ernesto Flores, Laudente Gallegos, Edmundo Garcia, Tony
21 Lien, and Keith Russell is granted as to the Estate of Bernard Victorianne’s claim for
22 wrongful death under 42 U.S.C. § 1983 and is otherwise denied.
23         IT IS FURTHER ORDERED that the Motion to Dismiss and to Strike Parts of
24 the Second Amended Complaint (ECF No. 117) filed by Defendant Bruce Leicht is
25 granted as to Zelda Victorianne and Bernard Victorianne III’s claims of failure to
26 investigate and otherwise denied.
27        IT IS FURTHER ORDERED that the Motion to Dismiss and to Strike Parts of
28 the Second Amended Complaint (ECF No. 118) filed by Defendants Deborah Bell,

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                                      Exhibit 1 - 52
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 1 Aileen Longno, and Corazon Roque is granted as to the Estate of Bernard Victorianne’s
 2 claim for wrongful death under 42 U.S.C. § 1983 and is otherwise denied.
 3         IT IS FURTHER ORDERED that the Motion to Dismiss Plaintiffs’ Second
 4 Amended Complaint (ECF No. 122) filed by Kenneth Richter is granted as to the Estate
 5 of Bernard Victorianne’s claim for wrongful death under 42 U.S.C. § 1983 and is
 6 otherwise denied.
 7       IT IS FURTHER ORDERED that the Motions to Dismiss Plaintiffs’ Second
 8 Amended Complaint (ECF Nos. 125, 126) filed by Defendant Peter Huang are granted
 9 as to the Estate of Bernard Victorianne’s claim for wrongful death under 42 U.S.C. §
10 1983 and are otherwise denied.
11 DATED: February 3, 2016
12
                                           WILLIAM Q. HAYES
13                                         United States District Judge
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                                     Exhibit 1 - 53
